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CITY OF BUFFALO

DEPARTMENT OF LAW

EX]

 

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JAMES KISTNER

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

JAMES C. KISTNER,
Plaintiff,

- vs - Civil Action No.
18-cv-00402

THE CITY OF BUFFALO,

c/o Corporation Counsel,

BYRON LOCKWOOD, individually and in
his capacity as Police Commissioner
of the Buffalo Police Department,

DANIEL DERENDA, individually and in his
capacity as Police Commissioner of the
Buffalo Police Department,

LAUREN McDERMOTT, individually and
in her capacity as a Buffalo Police Officer,

JENNY VELEZ, individually and in her

capacity as a Buffalo Police Officer,

KARL SCHULZ, individually and in his
capacity as a Buffalo Police Officer,

KYLE MORIARTY, individually and in his
capacity as a Buffalo Police Officer,

DAVID T. SANTANA, individually and in his
Capacity as a Buffalo Police Officer,

JOHN DOE(S), individually and in his/their
capacity as a Buffalo Police Officer(s),

 

 

 

Defendants.
CITY OF BUFFALO
DEPARTMENT QF LAW
JACK W. HUNT & ASSOCIATES, INC. FES 24 2020

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1 Examination before trial of JAMES, KISTNER,
2| Plaintiff, taken pursuant to the Federal Rules of
3|/ Civil Procedure, in the law offices of RUPP BAASE
4} PFALZGRAF & CUNNINGHAM, LLC, 1600 Liberty Building,
5| Buffalo, New York, on February 6, 2020, commencing

6; at 10:20 a.m., before ANNE T. BARONE, RPR, Notary

7} Public.

8

9| APPEARANCES: RUPP BAASE
PFALZGRAF & CUNNINGHAM, LLC,

10 By CHAD DAVENPORT, ESQ.,
1600 Liberty Building,

11 Buffalo, New York 14202,
(716) 854-3400,

12 davenport@ruppbaase.com,
Appearing for the Plaintiff.

13
TIMOTHY A. BALL, ESQ.,

14 Corporation Counsel,
By MAEVE E. HUGGINS, ESQ.,

15 Assistant Corporation Counsel,
1137 City Hall,

16 Buffalo, New York 14202,
(716) 851-4334,

17 mhuggins@city-buffalo.com,
Appearing for the Defendants.

18

19

20|/ J AM ES KISTN ER, 37 Schmarbeck, Buffalo,
21/ New York 14212, after being duly called and sworn,
22| testified as follows:

23

 

 

 

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1 EXAMINATION BY MS. HUGGINS:
2
3 Q. Good morning, Mr. Kistner. We met

4) again for a second time just a moment ago off the

5| record. My name is Maeve Huggins. I'm an attorney
6| for the City of Buffalo. We're here today for your
7| deposition in regards to a federal lawsuit that you
8} filed involving an incident with the Buffalo Police
9| Department.

10 Have you given any sworn testimony since

11) your 50-h in June of 2017?

12 A. No.

13 Q. Okay. I'd just like to review the

14| ground rules before we proceed with the deposition.
15 We have -- you're under oath, obviously,

16] and we have a reporter here who's taking down

17| everything that's being said.

18 For the sake of the reporter and so that we
19]} have a clean record, I'd ask that you allow me to
20| finish my question before you answer. I'11 extend
21) the same courtesy to you and allow you to finish

22| before I move on to the next question.

23 If at any point you don't understand my

 

 

 

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Kistner - Huggins - 2/6/20

1} question, please let me know. I'm happy to

2{ rephrase it.

3 The reporter can only take down verbal

4| responses, so I'd ask that your responses be

5; verbal. To the extent that you want to talk with
6} your hands or demonstrate something, I would just
7| verbalize it for the record so that we have it

8] memorialized.

9 If you need a break at any point, we can
10} take one. I'm just going to ask that if there's

11] a question pending, that you answer it before we

12| break. Fair enough?
13 A. Yeah.
14 Q. Oh. And I should say this: Mm-hmm,

15| shoulder shrugs, yeah, nah, those are difficult for
16| her to record accurately, so I would just ask that
17} you avoid those, if possible.

18 Obviously, at some point this may become

19| conversational, but for the sake of the record, I'd
20} ask that you avoid those type of words.

21 Before coming in today, have you taken any
22| medications within the --

23 A. No.

 

 

 

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Kistner - Huggins - 2/6/20

Q. -- last --

MR. DAVENPORT: Yeah. You've got to wait
for her to finish her question.

THE WITNESS: Okay.

BY MS. HUGGINS:

Q. It's okay. Everyone does it, and
sometimes this becomes conversational, but she is
quite literally typing down every word we say.

A. Okay.

Q. And it's tough if we speak over each
other.

So before coming in today, in the last
24 hours have you taken any medications that would
inhibit your ability to give truthful testimony?

A. No medications.

Q. Okay. Are there any medications that
you should have been taking that you did not within
the last 24 hours?

A. No.

Q. Have you consumed any drugs, alcohol,
or marijuana within the last 24 hours?

A. No.

Q. Is there any reason why you can't give

 

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Kistner - Huggins - 2/6/20

1] truthful testimony today?

2 A. No.

3 Q. Have you reviewed anything in

4] preparation for your testimony today?

5 A. No.

6 Q. Did you look at any documents in

7| preparation for today?

8 A. No.

9 Q. Review any video?

10 A. No.

11 Q. Review any photographs?

12 A. No.

13 Q. There is obviously some video clips
14] with regard to the incident on January Ist, 2017.

15| When was the last time that you viewed that video?

16 A. Tuesday.

17 Q. Of this week?

18 A. Yeah.

19 Q. Did you review any documents or

20| photographs on Tuesday?
21 A. Yes.
22 Q. Okay. What did you review specifically

23| with regard to video on Tuesday?

 

 

 

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Kistner - Huggins - 2/6/20

1 A. I watched the first clip.
2 Q. What is the first clip? What does that
3| depict?

4 A. It's the one I got hit in. I call it
5| the first clip.

6 Q. Okay. What documents -- before I move
7| on, any other video that you reviewed on Tuesday?
8 A. No.

9 Q. What documents did you review on

10| Tuesday?

11 A. The transcript of the 50-h hearing.
12 Q. Any other documents?

13 A. No.

14 Q. Did you review any photographs on

15| Tuesday?

16 A. No.
17 Q. I am going to try to not cover the same
18; ground of the 50-h, but for the sake of having to
19/ orient you to time frame and place for some of my
20] questions, I may have to do that.

21 If at any point you're not sure about what
22/ I'm referring to, please let me know. I want to

23|.make sure that we are on the same page in terms of

 

 

 

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Kistner - Huggins - 2/6/20

my questioning. Fair enough?
A. Okay.
Q. Have you discussed the January 1st,

2017 incident with anyone, aside from your

attorneys?
A.
Q.

with?

Q.

A.

Yes.

Who have you discussed that incident

My family.

Who in your family?

My sister Gwen.

Anyone else in your family?

Well, Rachel and I aren't married, but

I've talked to Rachel about it.

Q.

Anyone else aside from Gwen and Rachel

that you recall?

A.

Q.

my head.

Since when? I mean --

Well --

WIVB. I did an interview with them.
Anyone else?

I can't remember anybody off the top of

Have you discussed what you were going

 

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Kistner - Huggins - 2/6/20

1| to testify about in this deposition with anyone

2| aside from your attorney?

3 A. No. Other that Rachel.

4 Q. Did you take any photographs of the

5| January lst, 2017 incident involving the Buffalo

6} Police Department?

7 A. No.

8 Q. Did you take any photographs of any

9] injuries you allegedly suffered from that incident?
10 THE WITNESS: Rachel and Earl used their

11); cell phones, I think, to try to get pictures of my
12] wrists.

13 I'm not exactly sure which one of those cell

14] phones we were able to download, but you got them.

15 Other than that, no.
16 BY MS. HUGGINS:
17 Q. Are you aware of how many photographs

18|/ were taken of your wrists?

19 A. Not a clue. I mean, off the top of my

20| head, no.

21 Q. Do you know when those photographs were
22; taken?

23 A. The first week of January 2017.

 

 

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Kistner - Huggins - 2/6/20
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I don't know the day.

Q. Are you aware of any camera or
surveillance systems that captured any video of the
January lst, 2017 incident involving the Buffalo
Police Department?

A. Yeah.

Q. What camera system or surveillance
system are you aware of that may have captured
footage on that day?

A. Rachel's house at 37 Schmarbeck has
a Swann system. I think it has eight cameras.

There are two of them that are mounted below
the eaves up on the third floor that photograph the
front of the house. One on the right and one on
the left of those upper windows.

Q. When you said two, are you referring to
two individual cameras of the eight?

A. Yeah.

Q. Where are the remaining six cameras
positioned?

A. In the backyard, where the kids play;
or on the side of the house, looking down where the

kids play; or on the back of the house, looking to

 

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the right and the left.

Q. Who purchased that system?

A. Rachel and I went to Walmart, and she
paid for it.

Q. When was it installed?

A. I'm going to guess, 2015. I don't even
know the month.

Q. How are the cameras in that system
activated?

A. They run all the time. There are ways
you can set it to where they'll just go on when
there's motion, but we're not that sophisticated.
We never understood how to make that work.

So we just took it out of the box, put it
on the shelf, plugged it in, wired the cameras up,
I mounted them outside, and turned it on. And
that's essentially how it's worked ever since we
bought it. It's still working like that.

Q. Has it been just recording continuously

Since it was installed?
A. I think so, yeah. Unless there's
a power failure or something, yeah. But we never

turned it off except once, that I remember real

 

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distinctly.

Q. When did you turn it off?

A. In January of 2017, Jim Ostrowski told
me: You have to save the video on that machine.

I called Gary, a fellow who had repaired
a computer for me, and said, I've got to get this
off of here, and I don't know how to do it.

We had unplugged the machine I'm going to
say 9 o'clock at night on January lst, which was
after all this was over and I was home, because we
were told: Don't let it keep running, because we
don't know when we're going to get there to
retrieve it. Just unplug it, and I'll try to be
there tomorrow or the next day.

That's what Gary, the guy that told me he
was coming to get it, so --

Q. Do you have -- I apologize. Continue.

A. I don't know when Gary actually showed
up. I think it was probably the next day or the
day after. We gave him the keyboard, the mouse,
and the DVR.

We didn't give him any of the cameras

because they're all hooked up with leads going

 

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outside.

So he took the machine and the keyboard that
came with it and the -- does it -- maybe it didn't
have a keyboard. Just a mouse and the clicker.

The remote control.

Q. In terms of hardware of that system,
there's eight cameras and then there's what you've
called a DVR. Is that -- what is your understanding
of what that DVR is and does for the system?

A. Just records everything, everything it
sees, and then it lets you go back in with the
mouse and ask it to replay what is up there.

That's about as sophisticated as we ever got
with it so we could see what happened outside if
something was amiss. We could rewind it and say,
what happened here?

Q. Do you view the video on the DVR or is
there a screen?

A. There's a monitor.

Q. Is the monitor something apart of the
Swann system?

A. No.

Q. You've hooked the system up to the

 

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monitor?
A. Yeah, It's a TV.
Q. What is your understanding of how

frequently the footage will record over itself?

A. I don't know.

Q. The two cameras that are affixed
under the third-floor eaves on the front of
37 Schmarbeck, what areas of the street does those
cameras capture?

A. The one on the left -- if you're in the
house looking out, the one on the left, if you're
in the house looking out, looks almost like
straight down.

The one on the right looks to the left, like
you're looking up the street toward Broadway.

Q. Are other homes located on Schmarbeck

within the view of that second camera you've

described?

A. 24 -- to a large part, 24 Schmarbeck,
that's on that camera. I'm pretty Sure you can see
the profile of 33 on that camera. The camera on

the right, as you're looking toward the street.

The camera on the left, I don't think you

 

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15

1| can see any other houses. The one that looks

2) almost straight down, I don't think you can see any
3] other houses.

4 Q. Does the camera capture the sidewalk

5} and the streets in front of both 24 and 33

6] Schmarbeck Avenue?

7 A. The one on the right that looks in that
8| direction, yeah, it captures the sidewalk on both

9} sides of the street.

10 Q. Why did you purchase the -- strike

11] that.

12 Why did Rachel purchase the Swann system, if
13 | you know?

14 A. There are two reasons. For home

15| security, and it was on sale $200 off.

16 Q. Does the Swann system allow someone to

17| access video footage without preserving the

18|} £Lootage?

19 A. Say that again.
20 Q. Sure. Let me rephrase it slightly.
21 Using the system, are you able to view

22| footage without preserving it?

23 A. I don't know. You mean, can I --

 

 

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I don't know.

Q. Have you ever gone onto the system,
accessed footage from a period of time, and not
saved that footage?

A. We -- either Rachel or I -- Earl even
used it in January, he looked at it. We look at it
almost every day. I mean, if there's something --
it's kind of like the window on the world outside.

If you're missing a garbage can, you can go
back and find out what happened to the trash can.
Where did the trash can go?

If Charlie lost his ball in the backyard,
you can look: Where did Charlie's ball go?

We use it in that sense to look at what has
happened to try to understand.

Have we ever used it to look back and not
preserved it? I think to preserve it -- it's still
beyond me. I've still got to call somebody in and
say, get this off of here. I want to keep it
forever.

Q. Is it your understanding, based on your
experience with the Swann system, that you have the

ability to access video, and preserving it is

 

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something separate?
A. I don't know what its abilities are.
I don't know. We just -- we use it for what we use

it for.

I'm sure it will do all kind of things if
you're smart enough to sit there and study the
book. I don't even know if I've got the book
anymore.

Q. In January of 2017, who had access to
the footage on the Swann system DVR?

A. Just Rachel and I. But Earl, he was
there that morning, and when I was in the police
car and he came back in the house, while Rachel was
at the front window, Earl went -- because he's
smart enough to figure out how to play and rewind,
which is about all I ever showed him, because I
don't know any more about it -- he looked at it.
So Earl looked at it.

Other than Earl looking at it that day --
oh, and Earl showed it to Jim Ostrowski that
morning. So that's at least twice that Earl
rewound it on that morning and looked at it.

Q. How did you come to learn that?

 

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A. That Earl had looked at it?

Q. Yes.

A. I talk to my son as much as I can.

Q. Prior to having Gary retrieve footage

from January lst, 2017, had you viewed footage from
that date?
A. Yeah. I think I looked at it as soon

as I got home that day.

Q. What is Gary's full name?
A. I don't remember.
Q. How did you contact Gary to make

arrangements for him to retrieve the video?

A. A refrigerator magnet.

Q. Do you still have that magnet?

A. No. I gave it to Jill. I think Jill's
got it. I think I sent it to her in the mail.

Q. Have you had any contact with Gary
since his retrieval of the video off the system?

A. Well, he dropped it off and I paid him.
I might have talked to him on the phone over the
last several years twice, but I can't remember what
we talked about.

Q. Any time that you communicated with

 

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19

him, was it through whatever contact information
was on that fridge magnet?

A. Yeah, it would have had to have been.

Oh, and I think he's a friend of mine on
Facebook, but I don't -- I don't communicate with
him at all on Facebook, other than read his stuff
and he reads stuff that I repost.

Q. Had Gary ever retrieved video footage
for you prior to --

A. No.

Q. -- January Ist, 2017?

Did you give Gary any instructions on what

footage you wanted retrieved?

A. Yeah.
Q. What instructions did you give him?
A. I told him Jim -- Mr. Ostrowski --

I said, Jim Ostrowski -- Jim wants everything on

the front of the house that shows the incident from
the time the tenant arrives, until the time the
police leave.

Q. Do you know if that footage was
preserved from the time the tenant arrived and the

police leaving?

 

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A. I think so. Yeah, I think so.

Q. Are you aware of any footage aside from
the first clip that you've mentioned earlier in
your testimony?

A. From those two cameras, the one on the
left that looks straight down, that shows the
police with Earl.

Q. Was that footage also retrieved off the

system, if you are aware?

A. Yeah, both of those views.

Q. Is it your understanding that the
entire footage captured by both of those cameras
from the time that the tenant arrived and when the
police left on January 1st, 2017, was preserved?

A. I think it was.

Can I articulate here? I think I can help

answer your question here.

Q. Let me ask more broadly.
A. Okay.
Q. Are you aware of any footage that

exists from that date that was not retrieved off
of your Swann system?

A. That's more to the point. I know that

 

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there was video footage after the police left of
Jim Ostrowski arriving and Jim Ostrowski leaving,
but I don't know where it is.

I have looked and looked and looked, and
Iam still looking, but I know I saw that on video,
and I can't find it anywhere.

Q. Are you aware of any footage -- strike
that.

From the time that your tenant arrives on
Schmarbeck, until the time that the police leave,
are you aware of any footage that is no longer
available from that period of time?

A. That's a no with an explanation or
a yes with an explanation.

When Gary came back with the stuff on the
disc, he had it on four discs. All the discs were
just copies of each other, he told me.

And when I -- when I first was able to get
those discs to work and actually look at them,
there were like clips on there. It wasn't one long
movie. It wasn't one long, uninterrupted movie.
It was just this clip and then there was another

clip and then there was another clip and then there

 

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was another clip.

That's what I'm aware. The clips and the
time at the top -- the time at the top looks
different.

Q. Are you aware of any footage from that

date and incident that is continuous and extends
for the entire period of time from when the tenant
arrived and the police left?

A. Okay. I don't think there is one.

The reason I say that is because when
I asked Gary, the video guy, about is there one
long one here, he told me, when he was delivering
the thing and picking up his pay, that that video
clip was so big, that the only way he could get it
off the machine and onto DVD was to make it smaller.

Like the two hours from beginning to end or
whatever time there was there, it was just too big
a clip, and he didn't know how to move it around,
other than to do it the way he did it.

Q. Are you aware if the continuous footage
from this incident was preserved in any way aside
from --

A. No, I'm not.

 

 

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23

Q. -- reducing to a disc?
A. No.
Q. Do you have access to that continuous

footage today?

A. No. If I find it, you'll be the first
to get it.

Q. Do you have access to the same Swann
DVR system that was in place and recording footage
on January 1st, 2017?

A. Yeah.

Q. Is that Swann DVR system still
Functioning?

A. Yeah. One of the cameras doesn't work.
We lost a view.

Q. Which camera?

A. The one on the front porch, looking to
the right. It just stopped working a couple months
ago.

Q. Do you know when it stopped working?

A. Yeah. A couple months ago. I think
it's got a short in the wire going to the camera.

Q. In the year 2019?

A. Oh, yeah. Yes.

 

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Q. Had you ever performed any maintenance
on either the DVR system or the cameras itself?

A. No.

Q. After -- strike that.

In order for Gary to retrieve the footage,
did you have to physically give him the DVR system?

A. Yeah.

Q. And that system at some point was later
returned to you by Gary?

A. Yeah.

Q. Were you present at any point when Gary
was retrieving or preserving video footage from
January lst, 2017?

A. No.

Q. Did you view any of the footage from
January 1st, 2017, on the DVR system, after it was
returned to you by Gary?

A. I don't know.

Q. Prior to giving Gary the DVR system,
had you viewed the January lst, 2017 footage from
the time that your tenant arrived, until when the
police left Schmarbeck Avenue?

A. I want to say yes, but I don't think

 

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10:49:25 1] I looked at it like all the way through, nonstop.
10:49:34 2 I, Rachel, and Earl together looked at it
10:49:42 3| the biggest part of half the day the next day.
10:49:47. 4 Q. At some point you became aware that
10:49:52 5| footage was captured from the time your tenant

10:49:55 6| arrived, to when police --

10:49:57 7 A. Yeah.

10:49:58 8 Q. -- left the street.

10:50:00 9 A. Yeah.

10:50:00 10 Q. Okay. Have you ever created any notes,

10:50:05 11| a log, a diary of any sort to reduce to writing

10:50:09 12| what happened on January lst, 2017?

10:50:14 13 A. Not a diary.
10:50:17 14 Q. What form have you taken notes in?
10:50:19 15 A. T tried to sit and look at the four

10:50:22 16| clips and tried to figure out what order they go in
10:50:30 17] and tried to figure out like how long this whole
10:50:35 18] thing -- how long this whole thing took to happen
10:50:38 19| to try to make some sense of how long from the time
10:50:45 20} he got there, until the time the last police car
10:50:48 21| left, and why did the police leave when they did,
10:50:56 22] and tried to make sense of that.

10:51:01 23 Q. Did you reduce any of that to writing,

 

 

 

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either handwritten or typed?

A. It was more that I was just keeping
notes on the number of the clock, so it -- no.
It wasn't the kind of thing you could understand.
I didn't save it.

Q. Have you created any notes, a log,
a diary to help memorialize any injuries you allege
that you suffered from the January 1st, 2017

incident?

A. No.

Q. Sir, how old are you today?

A. 59.

Q. What is your current height and weight?
A. 250, five eleven.

Q. What was your approximate height and
weight on January lst, 2017?

A. 220, five eleven.

Q. Have you been prescribed any contacts
or glasses since your 50-h testimony in June of
2017?

A. No.

Q. Do you have any hearing problems?

A. Maybe.

 

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Q. Since your testimony in your 50-h in
June of 2017, have you seen any medical provider
for any hearing-related issue?

A. No.

Q. When you say maybe, what do you mean by
that?

A. If there's a crowd, if there's a lot of
noise, there's a lot of background noise, it's real
hard to pick up from the distance of five feet what
somebody's saying unless you watch their mouth.

Q. Have you ever seen a medical provider
at all with regard to that issue?

A. No.

Q. Do you utilize anything to aid your
hearing in those types of situations?

A. Rachel bought me two of them $20
hearing aids, one for each ear, and -- but that was
more a here, I told you so, wear these, than it was

a physician telling me that I couldn't hear.

Q. When did she buy those for you?
A. Last year.
Q. Were you wearing any type of aid on

January ist, 2017?

 

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A. No.

Q. You mentioned earlier that you are
married to Rachel?

A. No, I'm not. We're not married.

Q. Okay. What did you mean by that when
you said earlier today that you were married to
her?

MR. DAVENPORT: I don't think that he said
that he was married to her.

THE WITNESS: I think I clarified that we're
not married earlier today.

BY MS. HUGGINS:

Q. Okay. Who is Rachel to you then?

A. We have three children in common.
Q. Have you ever been married before?
A. Yes.

Q. When did you first get married?

A. ‘90.

Q. Who did you marry?

A. Danielle Bradley.

Q. Are you still married to Ms. Bradley?
A. No.

Q. When did you get divorced?

 

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A. We had a jury trial on our divorce in
front of Lane in Niagara County in 2000.

Q. Do you have any children in common with
Ms. Bradley?

A. Three,

Q. Which of your children are your
children in common with Ms. Bradley?

A. Joelle, Laurel, and Earl.

Q. Do you still have any contact with
Ms. Bradley?

A. Once a year maybe she'll call and want
to know where Earl is, but no, we don't talk.

Q. Have you ever discussed the
January 1st, 2017 incident with Ms. Bradley?

A. I haven't.

Q. How many children in total do you have,
sir?

A. Seven.

Q. Your middle child -- forgive me.
I forget your middle child's name. We discussed
Joelle, Laurel, and Earl. Who is your next?

A. Kendall.

Q. Kendall.

 

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A. Yeah. I have four big ones and three

little ones.

Q. Who is the mother of Kendall?

A. I want to make sure I get her last
name. I think her name is still Barber. Lisa
Barber.

Q. Do you have any contact with

Ms. Barber?

A. Not in six or seven years.

Q. Ever discuss this January lst --
A. No.

Q. -- incident with her? Okay.

Were any of your children residing with you

on January lst, 2017?

A. The three little ones were at Rachel's
house at 37, next door. I'm sleeping and staying
over at 33, which is the house I own. Earl was
home. I can't remember whether he -- I know he had

to sleep over at Rachel's on the First floor at 37,
so Earl was staying with Rachel that night. I got
up early and came over.

Almost -- almost constantly since this,

though, I've been spending almost all of the time

 

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over at Rachel's because she still worries.

Q. When did you stop residing at 33 and
staying at 37?

A. Consistently?

Q. Consistently.

A. I don't know. Eight months ago.
A year ago.

Q. What caused that change in staying at
33 to then consistently staying --

A. Rachel's mental health.

Q. -- at 37?

Where were Laurel, Joelle, and Kendall
living in January of 2017?

A. I don't know. I don't remember.

Q. Were they residing in the Buffalo area?

A. I want to say Joelle was, but I think
the other two were out of town.

Q. Did you ever discuss the January lst,
2017 incident with Laurel, Joelle, or Kendall?

A. No.

Q. What properties, if any, do you own on

Schmarbeck Avenue?

A. 24, 29, and 33.

 

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Q. What type of property is 24 Schmarbeck?
A. 24 is a double. A traditional 30 by 110.
Q. When you say double, is it like

a lower, upper double?

A. Yeah.
Q. How long have you owned 24 Schmarbeck?
A. I'm guessing to say 2007, but I think

that's kind of accurate.
Q. What type of property is 29 Schmarbeck?
A. It's an empty lot.
Q. Has it always been an empty lot while

you have owned it?

A. Yeah.

Q. And what type of residence -- not
residence -- what type of property is 33 Schmarbeck?

A. It's a single-family home. It's got --

it's got an office in the back, and it's got --
it's got a finished attic and a two bedroom on the
first floor, which if I get rid of the office,
I can make a three bedroom on the first floor. So
it's essentially a double.

Q. Are those rooms that you have described

separate units?

 

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A. They have been since I got it.
Q. What sources of income did you have in
January of 2017?
A. Two apartment rents -- no. Three
apartment rents. Three apartment rents. I've got

one of Rachel's apartment rents and then the two --
the two rooms I had rented, so there were three
sources.

It's not that way anymore but that's what it
was then.

Q. The three units that you have described,
does that encompass 24 and 33 Schmarbeck?

A. No. That would be the two at 33 and
one of Rachel's units at 41.

Q. Was 24 Schmarbeck empty?

A. 24 has been a project since the day we
got it. Other things are constantly calling me off
of it, and then I've got to go back to it, and
then --

Q. The unit that Rachel owns at
41 Schmarbeck --

A. Yeah.

Q. -- did you ever reside at 41 Schmarbeck?

 

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A. Yeah.

Q. When did you reside there?

A. When Rachel got the first building
there, we were still undergrads. Rachel and

I lived together there, and then on the weekends,

the three older kids would come over. They were
like eight, nine, and 12. So -- I don't know
how -- that was 20 years ago.

We did live there I think for six years.
Maybe seven.

Q. Some time ago, though?

A. Oh, yeah. It's a long, long time ago.

Q. What type of building is 41 Schmarbeck?

A. 41 is identical to 24. They're like
mirror images of each other. They're just across
the street. It's a traditional Buffalo double.
Four bedrooms on the first floor, three bedrooms on
the second floor.

Q. With the two units being an upper and
a lower?

A. Yeah. And if you finish the attic,
that's another 900 square feet.

Q. Aside from the rent that you

 

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were collecting from the two units in 33 and
41 Schmarbeck, did you have any other sources
of income in January of 2017?

A. No.

Q. Were you doing anything else for work
to help support yourself at that time?

A. No.

Q. How much rent did you charge for the
units at 33 Schmarbeck?

A. I'm going to give you an answer. It's

not gospel. Don't hold me to it. But I can tell
you approximately 405 on the second floor, 525 on
the first floor, and Rachel's unit at 41 upstairs
was 555. So add those together and that was my
monthly income. Gross.

Q. Was there anything about the January lst,
2017 incident that prevented you from collecting
those rents?

A. Can you ask that again?

Q. Let me ask it a different way.

In other words, did the January 1st, 2017
incident cause you to lose any rental income?

A. No.

 

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Q. What paperwork, if any, do you keep
regarding the tenants that rent from you?
A. Can you explain that? Can you be more

specific with that question?

Q. Sure.

Did you keep any records on the tenants that
rented from you?

A. Okay. The best way to answer that is
I don't have a file cabinet. I have boxes, and
I just put the papers in the boxes.

As the kids came along, as the three boys
came into our lives, you have to shed yourself of
that stuff, so you're constantly taking a box,
going through it, and going: Well, I haven't had
this lady for a tenant for eight years. That goes
in the garbage.

That's how I can describe my record keeping.

Q. Sure.

Did you have prospective tenants or tenants
that did indeed rent from you fill out an
application prior to them taking over a unit?

A. Yeah.

Q. Did you run background checks on your

 

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tenants?

A. No. Can't afford to.

Q. Who was the tenant or tenants living at
33 Schmarbeck on January list, 2017?

A. At 33? 33 Schmarbeck?

Q. 33.

A. Mike Wolfe was on the first floor.

Q. How long had Mike Wolfe rented from you

by January 1st, 2017?

A. I want to say he'd been there a year.

Q. Did you know Mike Wolfe prior to him
becoming a tenant of yours?

A. No.

Q. Did Mike Wolfe fill out an application
for the unit?

A. Yeah.

Q. Did you have any issues with Mike Wolfe
when he was your tenant at 33 Schmarbeck?

A. No. Close to the end, maybe a little,
but no.

He was a Restoration Society referral. We
got him through the Restoration Society. At that

point, we were getting a lot of people through the

 

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Restoration Society.

Q. How does the Restoration Society -- or
how did the Restoration Society refer a tenant to
you in January of 2017?

A. Here's the best way I can describe my
understanding of how that happened: When we listed
something, we never list anywhere except on
craigslist because it's free and most people know
how to use it. They can navigate it.

Restoration Society has a clubhouse
somewhere in Buffalo where homeless people and
their clients can go and use a computer to look for
apartments. I'm pretty sure that's how Mike found

out about us.

And I know he came with Restoration. He
came with -- when he initially established his
tenancy with us, he came with a counselor. And we

became pretty familiar with the counselors, but the
counselors come and go pretty quick there too, so --
Q. When did Mike Wolfe move out of the
unit at 33?
A. Sometime between January 1st, 2017 and

January 3rd, 2017.

 

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Q. Is there anything about the incident
occurring involving the Buffalo Police Department
on January 1st, 2017, that caused Mike Wolfe to
move out of that unit, if you are aware?

THE WITNESS: No. This begs some
explanation here.

MR. DAVENPORT: Go for it.

BY MS. HUGGINS:

Q. Let me ask a more general question.
Why did Mike Wolfe's tenancy with you come to an
end?

A. That begs an explanation too.

Q. It's an open-ended question.

A. All right. All right. Mike was a --
he was a substance abuser who had mental health
issues. His first few months of tenancy, first
five or six or seven months of tenancy were pretty
quiet.

He had his son or the guy who represented as
his son, he would come over and stay with him
periodically. That wasn't an issue.

About November, we started seeing a fellow

come and he'd stay there for days. And part of --

 

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part of this tenancy is we pay gas, we pay
electric, we give you a washer, stove, dryer
fridge. We pay for everything. Give you free
internet. Everything.

If you have another adult move into the
unit, you've got -- they've got to get an
application filled out, they have to be approved,
and you've got to kick in another hundred bucks
a month.

I'm allowed to do that because I pay for
everything. The water bill goes up. The electric
goes up. Wear and tear on the unit goes up. But
we don't expect more of a deposit.

So I told Mike: What's up with this guy?
Who is he? Where is he coming from? You know,
because it looks like to me, Mike, that he's living
with you. He said, no. He's just coming around.

Well, then it became apparent they were
using together, abusing drugs together. And
I said, well, you know, you've got a subsidized
apartment. Restoration is paying for this. Are
you letting Restoration know that this guy's over

here? Because I will if you won't.

 

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By the first week of December, the tenancy
had -- it was circling the drain.
Q. You've mentioned November and December.

This is in the year 2017?

 

A. ‘16.

Q. Oh, I'm sorry. 2016?

A. 16.

Q. Yeah.

A. The month immediately before.

Q. Right.

A. About the -- I'm going to say the 15th
or 16th of December, they disappeared. They were

just gone.
have to put a pay or quit
or a 30-day notice on the
disappeared.

And then -- but he

and I'd call him on the phone and say,

over there yet?

apartment?

happened twice that I called him,

Well, then when he

I've had tenants do that too.

And I thought:

Good for me.

You know,

Are you moved out?

Wow. I didn't even
or anything or a 90-day
door. They just

didn't turn in the keys,
are you done
are you done with the
That might have

and he said no.
and

just disappeared --

They just walk away

 

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or they get arrested and you never hear from them.
He was gone for about a week, so I started, you
know, asking people that lived on the street:
Anybody know where Mike is?

And somebody told me they're over at the
Little Shepherd of the Poor. Some social service
agency. I don't know if I got the name right. And
I said, what are they doing over there? And the
guy that had been over there in the daytime and saw
Mike over there said, they're getting the Christmas
goodies. So I said, oh.

So I called up Little Shepherd and I said,
is Mike Wolfe there? And they said, who is this?
And I told them: This is his landlord over here on
Schmarbeck, and I'm -- is he staying with you guys?
Has he moved in with you guys? Because they house
them overnight there. And they said, yeah.

And I said, well, are you aware that he's
got a subsidized apartment over here on Schmarbeck?
And he said, no. And he said, who's it subsidized
through? I said, Restoration. So they said, well,
could you have Restoration call us? And I said,

I don't want to get in the middle here. Why don't

 

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you call Restoration. And he said, yeah, we all

got to get together and figure this out. And I said,
well, are you going to keep him? Is he moved in
permanently?

Because if you can't talk to the tenant, you
have to figure out what's going on with the
building somehow.

And he said, well, we need to get on the
same page with Restoration. We need to find out
what's going on.

Q. Was there ultimately any conversation
with Mike about this?

A. No. No. He called me back, and he
said, they have -- he's over here with a friend,
which we kind of deduced was the fellow he had
staying at the apartment with him on and off, that
were drug abusing together.

And I think it was around the 28th I talked
to them. It was just after Christmas. And I says,
is he going to stay there with you? And they said,
well, he's got one more night. He's able to stay
here for ten days. And under the circumstances, we

wish you had called us earlier and we would have

 

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told him go home to Schmarbeck because we needed
the bed.
And I said, well, I just wanted to know
whether he had permanent housing, he's got
something else. Because it's always easier, if the

tenancy is going south, to make sure somebody has
a place to land, because they'll go out a whole lot
easier if they've got somewhere to go.

And like I said, we've dealt with a lot of
people in that situation before. A lot of our
tenants are problematic.

Q. Did you ever initiate any housing court
or other legal proceedings involving Mike?

A. I don't know if I mailed it and nailed
it. I think Earl might have nailed and mailed it
for me on the 30th. Because Earl doesn't have
a physical interest in 33, he's able to be
a process server.

I can't do my own process serving on my own
buildings. I've got to get somebody to do it. And
I'd prefer to get somebody that I don't have to
pay.

Q. What service -- what process did you

 

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1; serve on Mike?
2 A. Well, I know we nailed on the door. We
3} gave him a 30-day notice.
4 Q. Of eviction?
5 A. Yeah. Which is what you have to do to
6| start the process, I think.
7 Q. Did you do any other legal proceedings
8} involving Mike and the unit at 33?
9 A. No.
10 Q. Did you ever call the police with
11} regard to any issues with Mike at 33?
12 A. I don't remember.
13 Q. Did you ever come to learn the identity
14/ of the person who was staying with Mike?
15 A. No. Not -- I might have known for
16} a second or thought I knew for a second but not
17] now.
18 Q. Did Mike ever discuss with you any
19| issues he had with the person staying with him
20}; at 33?
21 A. I don't want to trash anybody too bad,
22{/ but Mike was always -- always had something that he
23] wanted you to listen to. Mike always had some

 

 

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story.
Q. Did he ever request that you help
remove that person from 33?
A. If he did, I know exactly what I would

have told him, but I don't remember him doing that,

no.

Q. Do you have any contact with Mike Wolfe
presently?

A. No.

Q. When was your last contact with Mike
Wolfe?

A. During one of my court appearances in

City Court on these criminal charges around this
false arrest, I was in the hallway, and Mike Wolfe
walked into the large area up in the criminal court
city building over there, and I noticed him, but he
didn't notice me.

Within about 15 minutes he walked into
a court room on that floor. My case hadn't been
called yet, so I went in and listened and saw that
Mike was involved in -- he was in a raid at a crack
house and had been swept up ina raid.

This was three or four or five months later,

 

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after January, so it would have been around June or
July. Something like that.

And after I learned that, I went back and
sat in the hallway for my case to get called, and
Mike came out of the court room after his case was
called, and he walked over and said hello. And
I really was kind of shy to talk to him, and I just
kind of acknowledged that he was standing there.

And he said, do you have something going on
here? And I was real vague and said, there's
always something going on in this building, Mike.
He just kind of laughed.

But that was the last time I laid eyes on
Mike Wolfe.

Q. Have you ever discussed the
January 1st, 2017 incident with the Buffalo
Police Department with Mike?

A. No.

Q. Are you aware if Mike witnessed any
portion of your interaction with the Buffalo police
officers on January 1st, 2017?

A. No, but they're going to inform you

of -- because the way I answer this might infer

 

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that he did.

When I was not home -- during that January
lst, 2017 time, when I wasn't at home, Rachel got
30 calls from him on his cell phone. Rachel said,
he's been calling here -- when I got home that day,
she said, he's been calling here all day.

Q. Did she actually speak with him?

A. No. Rachel was smart enough to not --
just not answer the phone, or I can't talk now.

Because Rachel being home alone, if Mike
knew I wasn't there, could have been problematic.
If Mike and his drug-abusing friend were over
there, knowing that Rachel was home alone with
three kids, that could have become problematic for
her.

Q. So other than him, Mike, repeatedly
calling Rachel that day, do you have any other
basis for thinking that maybe Mike saw any of your

interaction with the officers --

A. No.

Q. -- on January 1st?

A. No. He was hot to talk to me about
something that day. And it wasn't -- and during

 

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those times when he called Rachel, he told Rachel:
I'm done with the apartment. I'm leaving. Tell
Jim to come get the key.

Q. Was that information left via voice-mail
message?

A. Probably.

Q. Did any of those 30 phone calls occur
prior to your interaction with the officers?

A. No. Mike never called that morning or

the day before, for that matter. Or the day
before.

After -- after I had communicated with the
Little Portions Friary about Mike, other than maybe
seeing him on the -- maybe the 28th, very briefly,
I never saw him until the morning of the lst.

Q. Did you have any conversation with Mike
either in the days leading up to January lst or on
January lst, prior to your interaction with the
Buffalo Police Department?

A. No.

Q. Sir, I understand you were originally
born in Ohio?

A. Yeah.

 

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Q. Did you attend any schooling in Ohio?

A. Yes.

Q. What school -- schooling did you attend
in Ohio?

A. I went to Chase Elementary School to
the third grade. I went to -- these are all in
Cincinnati. I went to Mount Airy Elementary School
in the third grade. I went to Clovernook

Elementary School for fourth, fifth, and sixth,
about two weeks of seventh grade. North College
Hill Junior High. That's it.

Q. Did you graduate high school?

A. No.

Q. What was the last grade that you
attended in your schooling in Ohio that you've just
described?

A. Seventh.

Q. Why did you drop out?

Did you drop out?

A. Yeah. I was shining shoes. I was
making money.

Q. Where in Ohio did you obtain your GED?

A. T can't remember. It's on the GED. It

 

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says where I got it. It was in Cincinnati, in
1978.

Q. 1978.

I understand you have an urban planning
degree from the University of Buffalo. Have you
gotten any additional degrees since you obtained
the urban planning degree?

A. No.

Q. Any additional schooling after that?

A. No.

Q. Have you ever worked in the field of
urban planning?

A. Not on a bet.

Q. What was your most recent employment
outside of the rental units that you own?

A. Iam -- okay. The last three jobs
I had for a dollar bill.

Q. You don't even have to go that far for
three. I'm just asking the most recent.

A. Okay. Well, it's easy. I worked for

G&B Paving for six years when I was married with
Danielle Bradley. I got -- G&B closed, and

I worked for a different paver for one season.

 

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1 And at the end of the season, my back was
2| hurting, so I had -- I could -- within about
3); eight months, I could go back to work, and I had
4/ a schwannoma removed -- schwannoma tumor removed
5| from my back.
6 I'm going to jump ahead. As an undergrad at

7) Nccc, I had two work study jobs. For like four
8} days I had one and for like a week I had another,
9; and I couldn't do either one of them, so that

10} didn't work out. And that's it.

11 Q. Your work at the two paving companies
12/ that you've mentioned, was that as a laborer?

13 A. Yeah.

14 Q. Was there any type of accident or

15/ injury that caused the back pain you mentioned?
16 A. No.

17 Q. Okay. When did you first start

18} experiencing the back pain?

19 A. That last year I was working.

20 Q. Do you recall what year that was?
21 A. I really want to say '97, '98.

22 Q. What year was your surgery?

23 A. I think it was '98.

 

 

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Q. Have you -- in the years after 1998,
have you continued to receive medical treatment for
either pain to your back or for the tumor?

A. I did until I realized that was going
no place. I think I chased that squirrel up the
tree for maybe two or three years trying to figure
out how to get rid of it hurting still.

My problem was probably that I didn't get
the right kind of rehab after the schwannoma was
removed and everything kind of got stiff back
there.

And I was essentially told sometimes you
come out of those surgeries and you're fine,
sometimes you come out and you're not. Tf you
can't do what you used to do, you're one of the
cannots.

Q. What were the things that you were not
able to do after that surgery?

A. Well, I wasn't pushing full barrels of
blacktop anywhere, and I wasn't working on my knees
finishing flatwork concrete anymore.

Q. Fair to say that general labor type

work in the construction fields you are unable to

 

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do after that surgery?

A. No. The kind of labor I did in the
construction field required a 23-year-old back, and
I didn't have one.

You can work -- you can work hard or you can
work smart. Well, at that point in my life, I was
working hard, and that's why I got paid was
because, you know, you can put seven wheelbarrows,
which is a ton of blacktop, on the ground here,
there, here, there, here, there, and keep doing
that all day long. That's working hard. It's not
working smart.

So what I was doing before the surgery was
I was working hard, and you can't work hard -- you
can't work smart to work hard. You can't do it.

Or I couldn't then.

Q. When did you stop treating for the back
tumor?

A. Well, I know I checked in and out with
the neurologist who took it out, and I think I saw
him five or six times after the operation, and that
was it.

Q. So would it be sometime in 1999 that

 

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you stopped treating for those issues with your
back?

A. It would be safe to say.
Q. Do you have any certificate or did you

graduate from the program you attended at American
Institute for Paralegal Studies in Cincinnati?

A. If I do -- if I did, I have no clue
where it is.

Q. Did you ever work in the legal field?

A. No. I had job offers in the legal
field, but no.

Q. Have you ever received any schooling or
training in the medical field?

A. As an undergrad at Niagara County

Community College, I took the lifesaving course.

Q. Like a CPR-type certification?

A. Yeah. Yeah.

Q. Any --

A. I don't know if I have a certification

in that either.
Q. Any other medical treatment -- excuse
me -- medical training beyond that course at NCCC?

A. No. Not that I know.

 

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Q. When did you have that course?

A. 2003, maybe.

Q. Aside from the collecting of the rents
for the Schmarbeck units, did you have any other
duties or responsibilities as a part of the
landlord for those properties in January of 2017?

A. Can you ask that again?

Q. Did you do anything beyond collecting
rent on those units in January of 2017, as the
landlord?

A. You mean to maintain the buildings?
Work on the buildings? Is that what you mean?

Q. It's a broad and open-ended question.
If that's what you did.

A. Yeah. Yeah. Anything that's ever got

fixed, except that roof on 24, the recent reroof,
at any of those buildings, hers or mine, I did the
work on it.

Q. Was there anything about the
January 1st, 2017 incident that prevented you from
doing any maintenance to the units that you acted
as the landlord for?

A. Yeah. Want me to tell you?

 

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Q. What specifically were you unable to do
as a result of that incident?

A. Everything slows down and takes longer.
Iocan't do high work at all hardly. I can get on
a ladder, but I don't feel confident that I can
hold on to the ladder with both hands. I've got to
hold on to the ladder with both hands now.

Q. Prior to the January 1st, 2017
incident, were you doing maintenance on a ladder to
any of those units?

A. Yeah. I was cleaning gutters every
year. I was -- if anything leaked, I fixed the
roof. If we had to hang aerials for TVs, I was on
the ladder. I don't go up more than about six feet
anymore. It's just -- if I'm going to be, you
know, using hand tools.

It's the hand tools. That's the problem.

If I'm holding on to the roof and I'm nailing like
this, I've lost hammers. My hands have let go.
Just like that, they let go. And I don't want to
be up high.

And I definitely don't want to work with

nobody up high, because if I'm up high and

 

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something goes wrong --

Q. Have you incurred any expenses as
a result of your inability to do that maintenance
that requires a ladder on these units?

A. Yeah. There -- okay. It's not just
limited to the ladder either.

Q. Why don't we stick with the question
I just asked --

A. Okay.

Q. -- and then we can broaden it out.

A. I had to pay a crew to do the roof over
at 24. The last -- the rolled roof and the deck
I did myself -- by myself on that building, but
I couldn't do it.

Q. Had you previously done roofing work at
any of your units prior to the January 1st, 2017
incident?

A. Yeah. T'm the guy that put the new
deck on 24 on that side of the house.

Q. My question was roofing prior to the
incident.

A. Yeah. The deck of the roof is what you

put on the roof before you put the shingles on it.

 

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The four-by-eight sheets, I hauled them up by myself.
I did all that work by myself. I ripped the roof
off by myself. I did a complete tear-off on that
whole side of 24.

And that rolled roofing wore out, so I needed
another roof on it, and we were going to put the
shingles on that new deck that was underneath, and
I couldn't do it.

Q. When did you hire a crew to complete
that roofing work on 24?

A. I don't remember the date. I could
find it out at some other date. I've got receipts.
I've got a receipt.

Q. Any other expenses you have had as
a result of your inability to do ladder -- what's
called ladder maintenance, if that makes sense?

A. I couldn't do -- this is -- no.

Q. Any other aspects of the maintenance to
the units that you have been unable to complete as

a result of the incident on January 1st, 2017?

A. Yeah. The area below the front porch
at 37 was stuccoed. I couldn't -- I couldn't hold
a trowel. I couldn't use a trowel to put the

 

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stucco on, so that job got hired out. And that was
ground work. That was standing flat on your feet,
but you had to use a trowel a lot, and you use
about an eight-by-four trowel.

Q. When did you hire someone to do that
work?

A. This past summer.

Q. Summer of 2019?

A. Yeah. Yeah. It was spring. Spring.
I think I got it done in the spring.

Q. The issues that you've identified with

doing maintenance while on a ladder and with regard
to the front porch work, you've identified your
hands as being the issue.

A. The wrists.

Q. What about your -- first off, is it
both your hands?

A. I'm right-handed. It's both of my
hands, but the right is more pronounced than the
left.

Q. What specifically do you experience to
your hands that causes difficulty in this

maintenance work?

 

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A. I don't have any confidence in being
able to hold anything and work with it. I used to
be one of the best painters I know. I can draw
a line forever, and I could.

A six-room apartment, you could knock it out
in three days by yourself. Well, now it takes me
ten days to do that because I'm dropping the
paintbrush. I've got to get down off the ladder to
get the paintbrush again.

I don't know when it's not going to work.

Q. When you say it's not going to work and
dropping things, is that the extent of the issues
you have with your hand is you have an inability to

hold objects?

A. With confidence.

This happened to me -- can I keep talking or
not?

Q. How long have you experienced

difficuity with your ability to hold objects in
both of your hands?

A. Since January lst, 2017.

Q. Has there been any improvement or

change in this difficulty with holding objects

 

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since January lst, 2017, to the present?

A. I'm just more aware of it. I think it
was about the same the whole time, but I just think
the further I get away from January of '17, the
more I notice like it's still doing it, it's still
doing it. That's what I mean.

Q. Are you seeing any medical provider

specific to these issues with your hands?

A. No.

Q. Why not?

A. I don't have the money.

Q. Have you ever described the issues that

you have with your hands to any medical provider?

A. Yeah.
Q. Who have you described these issues to?
A. T'll start with that primary that I saw

at 1500 Broadway about ten days into the month of
January in 2017, and then any primary that I have
Since then.

Khan. Dr. Khan was at Family Practice.
I saw him probably for a year. But I know what
their responses always seem to be to me.

Q. So my question right now is just: What

 

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medical providers have you discussed the issues
with your hands with?
So we've mentioned the --

A. Yeah. Just those two.

Q. -- primary on Broadway and Dr. Khan?
A. Yeah.

Q. Just those two?

A. And -- and ECMC on the morning.

Q. When did you first notice issues with

holding objects in your hands?

A. Right after it happened. Particularly
with my right hand, because I doa lot with my
right hand.

Q. When you say, right after it happened,

are you referring to January lst, 2017?

A. Yes, ma'am.
Q. Are you able to write? Handwrite?
A. Yeah. Yeah. I can sign my name, and

I can print. Yeah, I know how to do that.

Q. Do you experience any difficulty
handwriting?

A. I ain't going to do it long. I'm going
to put the pen down after a very short time. But

 

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since I've been in college, almost everything is on
a typewriter.

Q. Fair enough.

I would like to return back to your injuries
a little bit later, but I think where we -- before
we got diverted to it, I asked if there was
anything about the January lst, 2017 incident that
prevented you from doing maintenance as a landlord
on your properties.

Have we discussed all of those issues? The

ladder work and then the work on the front porch of

37?

A. Yeah. And the extended time it takes
to get stuff done now compared with -- yeah.

Q. Aside from those things, is there any

other manner in which you've been prevented from

completing your duties as a landlord --

A. I'm going to say no.

Q. -- as a result of this incident?

A. I'm going to say no.

Q. Aside from your rental properties, do

you have any other employment today?

A. No.

 

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Q. Between January 1st, 2017 and today,
were you employed anywhere else other than as
a landlord?

A. No.

Q. Prior to January 1st, 2017, had you
ever encountered any of the officers who you
encountered on January 1st, 2017?

A. I don't know.

Q. Since January lst, 2017, have you
encountered any of those officers?

A. I don't think so.

Q. Again, I'm trying not to cover the
same --

A. Oh, McDonald's. Hold -- you asked --
the last question, can you repeat your last
question?

MS. HUGGINS: sure.

Do you mind reading it back?

(The above-requested portion was then read
by the reporter.)

THE WITNESS: McDonald's on Niagara Street,
Rachel and me took the kids there. I went in and

got the food, and I think either one of the --

 

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there was a male and a female officer in there, and
when IT went over -- Rachel's out in the parking lot
in the car with the kids, and she recognized --
when I was -- I'll come back to that in a second.

When I was in getting the food, the two
officers were talking to each other, and the one
officer said, that's him. And when I turned around
and looked, they were five or six feet away from
me.

I think it was one of the female officers or
it might have been the male officer that said it,
but I know one of them two policemen had something
to do with this thing on Schmarbeck that day,
because when I came -- when I came out and crossed
the parking lot and got in, Rachel said to me: Did
you see them? And I said, the two that were in
there? And she said, yeah. And I said, yeah.

They were talking behind me, and I went to turn
around and look at them, and they were kind of
acting kind of strange.

We're convinced that somebody in that
McDonald's, but no, we didn't talk to each other,

there was no confrontation or anything like that,

 

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but I think we might have ran into one of them one
day over at McDonald's.
BY MS. HUGGINS:
Q. Did you yourself recognize either
of those officers at the McDonald's?
A. No, but I could just -- I knew
what I heard going on behind me, and it was

like: I think that's one of the police.

Q. When was that?
A. Better than two years ago.
Q. Are you referring to the McDonald's on

Niagara near Virginia?

A. Yeah.

Q. How long have you been in a relationship
with Rachel?

A. 16 years.

Q. I want to quickly update some of your
testimony on the 50-h.

Any bankruptcies since your testimony on
June 27, 2017?

A. No.

Q. Any military service since your

testimony in your 50-h?

 

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A. No.

Q. Any additional education or training
after you testified in your 50-h on June 27th,
2017?

A. No.

Q. Do you recall the day of the week that
January list, 2017 was?

A. No.

Q. Do you recall what you did the night

prior?
A. New Year's Eve?
Q. On New Year's Eve, December 31st.
A. Yeah. The same thing we do every year.

We stay at home.

Q. Do you recall what time you went to
bed?

A. I don't want to get that New Year's Eve
confused with another New Year's Eve, but I think
I fell asleep and Rachel was looking out the front
window at the Electric Tower, because you can see
the fireworks going off from our house.

But when I got up and went home, it was

probably 2 o'clock. She was sleeping.

 

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Q. Do you -- at that time in January --
well, in December of 2016 and January of 2017, you
and Rachel were sleeping in separate residences?

A. Yeah. She had a hospitalization,

I think it was in '15 -- '16? '15 or '16 -- and
she wanted to live by herself, so she moved into
37, and I would sleep between 33 and 37, if she had
a bad night and she said, come over here.

Q. Where did you wake up the morning of
January ist, 2017?

A. I was at 33. I was sleeping in
a barber chair.

Q. In the 24 hours prior to your
interaction with the Buffalo police officers on

January 1st, did you consume any drugs or alcohol?

A. No.

Q. Did you consume any marijuana?

A. No.

Q. Did you skip taking any medications

that you were prescribed within that --

A. No.
Q. -- 24-hour period?
A. No.

 

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11:49:59 1 Q. Was anyone present at 33 when you woke
11:50:01 2] up on January Ist?
11:50:04 3 A. No.
11:50:05 4 Q. What did you do when you woke up?
11:50:10 5 A. Got my shoes on and went next door to
11:50:13 6| see if Earl was awake and Rachel and the boys.
11:50:16 7 Q. Was Earl staying in Rachel's unit on --
11:50:20 8] at that time period?
11:50:21 9 A. I think Earl was downstairs in the
11:50:23 10| first bedroom.
11:50:24 11 See, 37, where Rachel lived then, it's
11:50:29 12/ a double, but she has both units. She uses the
11:50:33 13} whole house. Downstairs, there's a front bedroom
11:50:37 14] downstairs, which has a bed in it, and when Earl
11:50:40 15] comes over, Earl usually sleeps there.
11:50:45 16 There's Rachel and the three little boys,
11:50:48 17| they were in cribs then -- I'm pretty sure they
11:50:50 18] were still in cribs -- and they're all up on the
11:50:54 19| second floor.
11:50:55 20 I have a room in the back on the second
11:50:57 21| floor at 37 that has a bed in it. And then I've
11:51:00 22| got the office that's got a barber chair. I can go
11:51:04 23] over there. I've got two mats in the back, if I want

 

 

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to lay down.
But if I just go over there and turn on the
TV and go to sleep, it gives her a sense of she's

living by herself for a minute.

Q. What was the weather on January lst,
2017?

A. I don't remember.

Q. What were you wearing?

A. The whole day? You mean when I went

outside?

Q. That morning.
A. I was wearing my -- a pair of pants and
a shirt, and I had -- I think I had a windbreaker

on, and I had leather-soled dress shoes on.
Q. What type of tread was on those
dress shoes?
A. All I can say is leather soles.
Q. At some point in the morning, you went

over to 37 Schmarbeck?

A. Yeah.

Q. What time did you leave 33 and go over
to 37?

A. It was early. Like 6:30, 7 o'clock in

 

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the morning. It was early.

Q. Who was present at 37 that morning?

A. From my memory it was me, Rachel, Earl,
and the three little boys.

Q. At some point that morning your
attention was drawn to a red van parked on
Schmarbeck Avenue?

A. Yeah. I saw Wolfe -- I saw the van
pull up. I was looking out the window when the van
pulled up.

Q. What type of street -- actually, strike

that.

The block that your properties are located
on Schmarbeck Avenue, is that a two-way street or
a one-way street?

A. It's a two-way street.

Q. How many lanes of traffic are located
on Schmarbeck Avenue within that block?

A. I would say you could -- well, I know
you could safely put three cars abreast, so you
could have a parked car on each side of the street
and one car could safely navigate right down the

middle.

 

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If it's a fire truck or something big, wide,
and I was going to say noisy, sometimes they have
trouble getting down the street. The garbage
trucks and the plow trucks sometimes, when there's
people parked on both sides, they'll have trouble
negotiating the street.

Q. Is there any crosswalk or indication on
the road for pedestrians within that block on
Schmarbeck?

A. Up at Broadway, after they milled
it -- I don't know what year that was -- with
enough calls to City Hall, they gave us a half
a crosswalk -- a half of paved -- of painted
pavement up at the corner.

They gave us, you know, a line -- a white
line where the car could pull to the white line,
but I think that was about it.

Q. And that's at the intersection of
Broadway and Schmarbeck?

A. Yeah. That's another 200 feet up the
street.

Q. What time was it when the red van

pulled up and parked on Schmarbeck?

 

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A. I don't remember the exact time.

Q. What drew your attention to the van?

A. Well, it pulled up in front of 33, and
Mike popped out of it. Mike Wolfe popped out of
the driver's side. That's what really drew my
attention to it was Mike Wolfe was driving it.

Q. Was that the first time you had seen
Mike since he had stopped staying at 33?

A, I think I saw him on like the 28th, but

it was like fleeting. Like he just walked down the
street and went in the house. But, yeah, that
was -- that was the first good look I had at him
and like that he was going to be there for a while.
Q. What about the red van concerned you?
A. It was a couple things. First, six,
eight weeks before, Mike had asked me to cash
a check, and I said, I'm not cashing your check.
I said, take it somewhere and get it cashed. He
said, well, I got no ID.
I said, well, how have you been cashing them
so far? And he said, well, I don't want to go
there. And I said, well, tell me. And he said,

I give it to the crack man. I said, well, go give

 

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that one to the crack man. Mike said, I owe him
money.

So I was like: I'm not going to help you.
You've got to have some ID. Can't Restoration give

you something to prove that you can cash a $35
check? And he says, never mind.

But, yeah, he told me he didn't have
a driver's license.

Q. Did you ever contact the police the
morning of January 1st, 2017, with regard to the
red van?

A. No.

Q. When did you first notice police had
arrived on Schmarbeck Avenue on January 1st?

A. I'm going to say it was about ten or
15 minutes after Mike got there.

Mike pulled up, got out of the van, went in
the house. And I was like, as we're cooking and
we're negotiating in the kitchen, looking out on
all this, Earl said, what's going on? I said,
well, Mike's here.

I think I told Rachel: The bad penny's

back. And she said, why -- I think she said, did

 

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he go in the house, or what's going on? I said,
well, he just pulled up in a van.

Now, Earl wouldn't have known, but Rachel
might have mentioned it: Well, whose van is it?
And I said, I don't know. We'll figure it out.
We're not going to worry about it right now.

Q. The observations you made of the van
and the police when they arrived, that was all from
within the kitchen of 37?

A. Yeah, looking out the kitchen window.

Q. How many police did you first observe
arrive on Schmarbeck that morning?

A. Two. The first Tahoe pulled in the
middle of the road. It didn't pull over to the
curb. It pulled right in the center of the road.

Q. When you say two, do you mean two

vehicles or two officers?

A. No. Just one with two officers in
there. And only one got out.
Q. Please describe the physical appearance

of the officer that got out of the Tahoe.
A. I want to say he was tall, but that's

like -- I was 150 feet away. That's all I can tell

 

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1]/ you. He seemed to be a little taller than most.
2| And he was driving.
3 Q. What happened when the officer exited
4! the vehicle?
5 A. He walked over about to the curb, and
6| he stood there and talked to Mike. Mike came out
7| like as they were just almost simultaneously with
8| them coming down the street.
9 So Mike might have been waiting on the
10} sunporch there. He might have been standing on the
11} porch and come down off the steps to almost meet
12] them when they got there.
13 Q. Were you able to see what Mike was
14|] doing before he walked out to the officer?
15 A. No.
16 Q. When you say that the officer walked to
17| the curb, is that the curb of the street and the
18} sidewalk?
19 A. Yeah.
20 Q. Is that in front of 33?
21 A. Yeah.
22 Q. What happened after you saw Mike and
23| the officer meet each other at the curb?

 

 

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A. I think there was some conversation in
the house between maybe me and Rachel. Maybe me
and Earl. I don't think I was standing there
staring out the window.

I was kind of, you know, doing things, look
out for a minute, check it out. I was more
concerned with just keeping an eye out that Mike
wasn't making off with the appliances out of the
apartment with this van that I knew wasn't his.

Q. What caused you to have that concern?

A. My experience as a landlord on the
East Side of Buffalo dealing with cross-addicted
mental health patients.

Q. Have you had previous tenants steal

appliances from you?

A. I've had previous tenants threaten to
steal appliances. I've had previous tenants break
them as they were walking out the door. So, you
know.

Q. Had Mike threatened to do that in this
unit?

A. Mike was noncommunicative. Mike was
like -- from the middle of December, we hadn't

 

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really said anything. And then when I found out
where he was and I tried to track him down that way
and say, are you going to give me the keys back?

Are you done over here? That didn't work too well

because --

Q. Did Mike owe you any rent on January lst,
2017?

A. I don't remember.

Q. Did you have a written lease with Mike
Wolfe?

A. I had a rental agreement. We had the
same lease with everybody. If it's a Section 8
tenant, we call it a lease. If it's a guy on

month-to-month, we just call it a rental agreement.

But it's the same document.

Q. It's reduced to writing --

A. Yeah.

Q. -- in a document?

A. Yeah.

Q. The observations you made of the

officer conversing with Mike, that occurred from
the kitchen -- your vantage point in your kitchen

at 37 at the time?

 

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A. Yes.

Q. How long did you observe Mike and the
officer conversing from your window?

A. I don't remember exactly. And
remember, it's you're glancing out the window,
you're watching, you know, you're trying to keep
on -- I got three little ones. We're trying to
make breakfast.

Everybody's moving around the kitchen at
once, and we're trying to -- and I think I told
Earl: As long as he don't put nothing in the back
of that van, don't worry about it. You know, as
long as he's not hauling off the fridge, just don't
worry about it, Earl. It's no biggie. He's
probably just here getting stuff or something.

Q. During the period of time that the
officer was conversing with Mike at the curb, how

many police vehicles were present?

A. See, now, I'm almost relying on the
video and not my memory. Do you know what I mean
by that?

Q. Do you have difficulty remembering the

incident?

 

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A. I would be delighted to forget it.

Q. Do you have difficulty remembering the
incident?

A. The further I get away from it, the
less of it I remember real clearly. No, I don't
have difficulty remembering it.

Q. Did there come a time when you observed

a second police vehicle park on Schmarbeck in the
vicinity of 33?

A. I don't think I seen them pull up, but
yeah, at some point I became aware now there's two
cars out there.

Q. Where were you when you became aware of
the second car?

A. I was still upstairs.

Q. What point did you choose to exit 37 to
go outside?

A. I don't -- I don't know what -- I don't
know what kind of conversation we were having, me
and Earl and Rachel, but I think when the second
police car got there, I thought: Oh, there's
something serious going on down there.

Q. What, if anything, did you observe

 

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about the interaction between the police and Mike
that caused you to form that opinion?

A. I'm pretty sure the first police car
pulled up, the driver got out, walked over, Mike
talked to him.

Mike was pointing up at the kitchen window,
and I was like -- Rachel was concerned, because
Rachel noticed that, and she said, what is he
pointing up here for? And I said, I don't know.
Maybe he's telling him where his landlord lives.

I don't know.

Or maybe he knew I had left, because he
could have heard me leave that morning, and maybe
he said, well, if he's not back in the back, he's
over there.

When the second police car -- okay. They
talked for a minute, and then Mike disappears, and
then the second police car pulls up. And I think
I thought at the time like: Okay. Why are all
these cops converging on the house and Mike just --
what's going on with Mike? Mike just went in the
house.

I wasn't sure what conversation had gone on

 

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between Mike, but now more people were coming.

Q. Were you able to hear any of the
conversation from where you were?

A. No. Just -- no, I was not able to be
a party to hear any of that, but I know he was
pointing up at the house a couple of times.

Q. How long did the conversation between
the officers occur before you exited the home?

A. I don't know. I'd like to know, but
I don't.

Q. Did anyone summon you out of 37?

A. No.

Q. Did anyone call you and ask you to come
out of 37?

A. No.

Q. Who was with you when you exited the
house?

A. I thought Earl was like right with me
but he wasn't.

Q. What did you do when you exited 37?

A. I walked over to ask the driver of the

first Tahoe what was going on with Mike.

Q. Did you enter the roadway in order to

 

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approach the first Tahoe?

A. Yeah.

Q. Did you in any manner call out to the
police before you entered the roadway?

A. No.

Q. At the point that you approached the
first Tahoe in the roadway, were any of the
officers outside of the police vehicles?

A. I think when I last looked out the
window or watched or saw on the monitor, there was
one of the policemen was still out of the car.

When I left the house, my impression was
that he was still going to be there. That's what
I thought. I said, well, they're still out there.
I'll go talk to them.

Q. When you mentioned the monitor, do you
mean that your answer is from both your
recollection and later viewing video?

A. No. That's a direct recollection from
the morning. I remember there's still somebody out
of the car. Let's go, Earl.

And he had to find his boots, and he had to

get his boots on. Just slide them on. You can tie

 

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them outside. But let's go find out, before they
go, what's going on. Or before Mike gets in deep
shit. Or, you know, before somebody gets in

trouble that maybe ought not to be in no trouble.

Q. Had you ever intervened with the police
and Mike prior to this date?

A. No. No. I don't do that. I don't
intervene.

Q. At some point the first police Tahoe
pulled away?

A. I left the house, walked down the
steps, walked out into the street, and then made
a left to walk up to the driver's side.

As I was walking up to the vehicle, I said,
can I talk to you? The officer on the left-hand
side, in the passenger seat, a male officer, he
started waving his arms and screaming really loud:
No. We're leaving now. We're leaving now. We're
not talking to anybody.

Q. Were you in the roadway when the
officer yelled?

A. No. I was in the roadway to the right

of the Tahoe. I was already on the -- my right,

 

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his left. I was not standing in front of the
Tahoe, no.

Q. Would that have been the driver's side
vehicle -- the driver's side of the Tahoe that you
were on?

A. Yeah. Yeah. I was already -- because
I was trying to walk up to the door -- to the
driver's door of the first Tahoe.

Q. On the roadway of Schmarbeck?

A. Yeah.

Q. How long or how much time elapsed from
when you exited 37, to when you approached the
first Tahoe?

A. Maybe 14 seconds it takes. I don't
know. T never timed that.

The time it takes to leave the front door,
go down the steps. I might have checked the mail.
I don't know. I might have looked in the mailbox
for Rachel. I don't know.

Q. Where was the second police vehicle at
the time that you approached the first Tahoe?

A. She was directly -- she was to the

passenger side rear. Like diagonal, like behind

 

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him.
Q. Behind the first Tahoe?
A. Yeah.
Q. After the first Tahoe pulled away, did

you turn your attention to the second vehicle?

A. As soon as I heard the guy in there
screaming: I'm not going to talk to anybody --
we're not talking to anybody. We're not talking to
anybody -- as soon as I heard that, I said, oh,
okay. He's not going to talk to nobody. So I just
walked past the Tahoe.

As soon as I came around the back of that
Tahoe, I looked over, and I saw the woman in the
other Tahoe parked at the curb, and I said --

Q. My question was going to be: Did you
have any conversation with that officer?

A. I said, can I speak to you? And she
cocked her head and smiled.

Q. Did the officer -- strike that.

After the time that you turned and looked at
the second vehicle, had you changed the position of
your body with relation to the vehicle -- that's

already gotten very convoluted. Let me rephrase

 

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that.

At the time that you turned your attention
to the second vehicle, where were you positioned on
the roadway in Schmarbeck?

A. I want to say I was -- I was -- it
seems like I would have been dead in the middle of
the road facing her.

Q. Did you ever approach the second police
vehicle?

A. Yeah. I took two steps toward it.
After she smiled at me, I took two steps forward
and looked up.

Q. Where was your body positioned in
relation to that second Tahoe?

A. I don't understand how to answer that.
I don't understand the question.

Q. How was your body oriented to that
Tahoe?

What side of the vehicle were you on or
walking towards?

MR. DAVENPORT: Well, form. He didn't --
well, you can go ahead and answer.

THE WITNESS: The driver's side. The

 

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driver's side. Like I was about even with the
front wheel.
BY MS. HUGGINS:
Q. Did the driver of the second Tahoe ever

roll down the window?

A. I don't know.

Q. Did that driver ever summons you
towards the vehicle?

A. I thought her smile was the
acknowledgement that she heard my question and
that she wasn't -- that she was going to be
receptive to speaking to me.

I thought when she looked over at me and she
smiled, that that acknowledgement was: Yeah, I'm
here.

Q. How much time elapsed from when you
began approaching the vehicle, to when you claim
you were struck?

A. I claim? I'm going to say five seconds
before she crashed into me.

Q. Did you take any effort to avoid the
vehicle?

A. Her vehicle?

 

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Q. Correct. Did you take any effort to
avoid the vehicle?

A. I didn't know she was moving her
vehicle.

Q. What part of your bodies -- or what
part of your body was struck by the vehicle?

A. I took two steps around the back of the

Tahoe, I looked up, I saw the car was coming at me,
I put my hands out in front of me, and I closed my
eyes.

The next thing I know, I was on the ground
and the back of my head hurt. I don't know.
I don't know if my hands hit, my hips hit. I don't
know.

Q. Why did you close your eyes?

A. I was scared she was going to hit me
with the car.

Q. Did you take any other action to try to
move out of the way?

A. There wasn't time to move out of the
way.

Q. Where did you experience the pain to

your head?

 

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Kistner ~ Huggins - 2/6/20

91

A. In the back of my head.

Q. Do you have any recollection of the
vehicle striking you?

A. I have -- I don't have a visual
recollection of it, but I have a recollection in
my head of falling. I remember falling down.

I remember: Oh, Christ. It's the first -- you're
talking to yourself, you know. I remember that.

Q. What part of the vehicle struck your
body?

A. I don't know. I put my hands out.
That's all.

Q. Did you notice any injury to your hands

after you claim the vehicle struck you?

A. Like within the first minute? No.
I wasn't --

Q. Immediately after.

A. After I hit the ground, my head was
hurting so bad, I wasn't paying no attention to
nothing else but the back of my head.

Q. Where was your body positioned with
relation to the Tahoe when you landed on the

ground?

 

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Kistner - Huggins - 2/6/20

92

A. I don't know when I landed on the
ground, but I know when I opened my eyes where
I was. Like my first recollection after I hit the
ground, I know where I was then.

Q. How much period of time elapsed before
you opened your eyes while you were on --

A. I don't know.

Q. -- the ground?

A. I don't know.

Q. Where were you when you opened your
eyes?

A. I was laying on my back, and when I go

to get up when I'm laying on my back in the street,
I kind of bend up forward, and as I bent up
forward, I looked at my feet, and my feet was up
and underneath the car.

And the first thing I thought is: She's
going to run over my legs. so I turned to my left
Side, and it looked like a silent movie. It had to
look like a silent movie, because I don't remember
hearing anything, and I like moved my feet like
I was pedaling to get out from underneath the car.

And then when I got out from under it, I was

 

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on my left side, and I was looking down Schmarbeck
on my side, like this, and I'm opening and I'm
closing my eyes as I'm coming around, and I look
down toward Schlenker, where the stop sign is, and
I remember seeing the police car down there.

I don't remember if he had his lights on or
not, but as I started -- as I realized then, oh,
okay, I'm out from underneath this car, there's
a cop car down there, okay, all right, I know where
I'm at, I started to lean forward to get up, and as
soon as I leaned forward to get up, that's when the
back of my head really -- that's when the pain
really took off.

Q. Were you able to actually physically

get off the ground --

A. No.
Q. -- before you felt the pain?
A. No. And as soon as the shot of pain

went through me, I started yelling for Earl.
Q. Aside from the pain to the back of your
head, did you notice any other injuries at that

point?

 

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94

Q. When did police officers exit that
second Tahoe?

A. All my recollection of what you just
asked me is from the video.

Q. Okay. Fair enough.

Do you have any recollection -- strike that.

When is -- at what point in time do you next

remember something from while you were at Schmarbeck?
A. After I started to get up and the pow
happened in the back of my head, it just -- it was
like, bang. It hurt real bad.
After that happened, I grabbed the back of
my head, and I laid back down, and I said, Earl?
I said, Earl? And I heard him say, Dad? And
I said, yeah. Call an ambulance. The back of my
head hurts. This hurts too bad. And he said,
all right.
And I think he said, just stay there. And
I said, I'm not going anywhere. Then I just closed
my eyes and laid there for a minute, holding the
back of my head.
And I don't know how long it was, but I think

somebody asked me a question, and I thought it was

 

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Earl. I don't know what the question was, but

I thought somebody said something to me, and it was
about that time I opened my eyes, and I looked up,
and then it started getting ridiculous.

Q. So when you said that certain things
from your memory are from the video and not your
recollection --

A. Yeah.

Q. -- is that due to difficulty recalling
what happened that day or because you lost
consciousness?

A. I got out from under the police car and
I looked down Schlenker, and I seen the back of
that police car. At that point it starts hurting
and I'm putting my hand up and I'm grabbing the
back of my head, and I'm thinking: What are you
going to do? Can you get up? You tried that once.
That's not going to work. Get Earl?

I didn't see that police car down at
Schlenker back up the street, but I know he backed
up the street because I seen it on the video, so
I know he backed up the street.

Now, whether I was looking down the street

 

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at him as he was backing up, I don't know. Or was
I looking down the street when he was still going
toward the stop sign, I don't know. But I know he
eventually backed up the street.

Q. So any difficulty in just describing
this is not from you losing consciousness or an
inability to recall the incident, it's because you

watched a video since then?

A. I don't know.
Q. Okay.
A. I don't know whether I lost

consciousness for five seconds or two seconds or
whether I was conscious the whole time.

Q. Fair enough.

At any point while you were on Schmarbeck
Avenue, did you hear any of the conversation
between and amongst the officers present?

A. There were bits and pieces that

I picked up here and there.

Q. What were you able to hear?

A. While I was laying on the ground --
we're back to that point -- I opened my eyes and
looked up. I saw a policewoman with her hands on

 

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her hips, and as soon as I opened my eyes, she
said, if you don't get off the ground, I'm going to
arrest you.

Q. My question is if you heard
conversation between and amongst the officers.

A. Not that I remember.

Q. Okay. At some point you were placed
under arrest and placed in the back of a police
vehicle while on Schmarbeck Avenue?

A. Yes.

Q. Which of the Tahoe vehicles were you
placed in?

A. The one with the males in it.

Q. At any point when you exited
37 Schmarbeck, until your arrest, did you have
access to a cell phone?

A. I had to have a cell phone in my pocket
because I was booked in with a cell phone.

Q. Did you call anyone during that period
of time?

A. After I exited 37?

Q. Yeah.

To qualify just the time frame: Exiting 37,

 

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until you were arrested, did you contact anyone on
your cell phone?

A. No.

Q. Did you do anything with your cell phone

in any attempt to record or photograph what

happened?
A. No.
Q. How long were you in the back of the

police vehicle before being transported away from
Schmarbeck Avenue?

A, IT have no recollection of time, as far
as the length of it, other than the video, and
I tried to figure out once how long was -- how long
did all this happen, and I really couldn't piece it
together. I couldn't figure it out.

I think I was in the back of the car, as
best as I can guess, better than a half hour.

Q. When you attempted to calculate that
time by watching the video, were you able to view
continuous video from the time you were placed in
the vehicle, until the vehicle left Schmarbeck?

A. No. When I was trying to figure that

out, I was using that timer up on top of the video.

 

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I was trying to see, okay, this happened at this
time to try to figure out how long the whole thing
lasted. No. The answer's no.

Q. Did you request any medical attention
from any of the officers while you were still on

Schmarbeck Avenue?

A. The officers were present and would
have heard me tell Earl: Call an ambulance.
Q. Did you specifically ask any officers

for medical attention?

A. No.

Q. Did you identify the pain you were
experiencing to the back of your head to any of the
officers while you were on scene on Schmarbeck
Avenue?

A. After the policewoman said, if you
don't get up, I'm going to arrest you, I don't
remember the exact words I used, but I made it
quite clear to her, and I think it was something
along the lines: You just hit me with a police
car, and the back of my head's on fire. I'm not
getting off the ground. I'm going to go to the

hospital in an ambulance. Or something to that

 

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effect.

And honest to God, after she threatened to
arrest me, I was like: This whole thing is getting
ludicrous, and like, you know, when somebody tells
you they're going to arrest you after they hit you
with a police car, you don't want to be in
conversational mode with those people.

Q. What medical attention, if any, did you
want while you were still on Schmarbeck Avenue?

A. I just wanted my head to stop hurting.

Q. Was there any specific medical
attention that you requested of the officers while
you were on Schmarbeck Avenue?

A. No.

Q. Were you taken directly to ECMC when
the Tahoe departed from Schmarbeck Avenue?

A. I was laying down in the back seat of
the Tahoe when they took me. I don't know.

Q. Okay. Another way to ask that: Was

there any stops made en route to ECMC?

A. I don't know.
Q. Did you --
A. I mean, I don't think they turned on

 

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101
the lights. I know they --

Q. Well, that's not my question.

A. Okay.

Q. My guestion is: Were you taken
directly to ECMC when you were transported from
Schmarbeck Avenue?

A. I don't know.

Q. Did you lose consciousness at any
period of time when you were --

A. I don't know.

Q. -- in the vehicle?

A. If I lost consciousness, I don't
remember. I wouldn't have known it. I didn't know
it.

Q. Do you have gaps in your memory from

while you were in the police vehicle?

A. See, I got --

Q. Let me ask it this way --

A. I don't remember getting out of the
police vehicle at ECMC and getting in the room at
ECMC. I can't remember how I got down the hallway.
And there might be pieces of that ride that I don't

remember in the same way.

 

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Q. Do you remember being taken anywhere
else between Schmarbeck Avenue and ECMC that
morning?

A. No, I don't remember.

Q. What medical treatment, if any, did you
receive while you were at ECMC that morning?

A. Medical records are Latin to me, so
I don't understand them.

Q. Not based on the records, but your
recollection of that morning.

A. There was a nurse that saw me. I think

there was a doctor that saw me. They put me in
I think an MRI tube. The big metal one. I had one
of those for -- I don't know -- a minute or so.
I can't remember if they gave me fluids or not.
Q. Did you make any requests for specific

medical treatment of any ECMC staff?

A. Yeah. The first nurse that walked in.

Q. What did you request of her?

A. To leave me alone. To get as far away
from me as possible. I didn't want her involved in
my care.

Q. Did you make any requests for medical

 

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treatment from any other ECMC staff?

A. I told them I wanted to see a doctor.

When the nurse would come in at the
beginning, I'd say, when am I going to see the
doctor? I wanted to see the doctor. I wanted to
see a doctor.

Q. And at some point that morning, you saw
a doctor?

A. Yeah.

Q. Did the doctor perform any examination
of you?

A. Yeah. He looked at my head. He was
the one who told them to get the handcuffs off.
I'm pretty sure he was.

Q. Did you receive any stitches that
morning?

A. No. No.

Q. Did you receive -- strike that.

Were any medical procedures of any kind
performed on you that morning?

A. I think they put something on the front

of my head, because I had a -- I had -- they said

I had an abrasion on the front of my head.

 

 

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Q. Were you bleeding from anywhere?

A. I don't think so. I might have been
bleeding from the front, but I wasn't bleeding from
the back.

Q. Have you ever received an MRI prior to
January lst, 2017, to your head?

A. I don't know if I had one as part of
that back surgery in '98 or not.

Q. Had you ever received an x-ray or
a CAT scan of any kind to your head or neck prior
to January ist, 2017?

A. I don't know how to -- I don't know.

Q. Did you ever describe, to any medical
professionals at ECMC, what occurred on Schmarbeck

Avenue that morning?

A. Yeah. The nurse and the doctor that
IT -- the second nurse and the doctor.
Q. Did you observe any of those medical

professionals, the nurse or the doctor, record your
description of what happened that day?

A. No.

Q. Did you observe any of those medical

professionals take any notes or make any notations

 

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while they were speaking with you?
A. No. I think almost all that stuff was
done in the hallway on a computer.
Q. Have you made any claims about ECMC or

its staff with regard to your medical treatment
that morning?

A. You mean officially, like filed
a complaint with them or something?

Q. Let me break it down in two ways.

Have you done anything like that legally or
submitted any type of complaint to ECMC for your
medical treatment that morning?

A. No.

Q. Have you given any statements to anyone
at ECMC, aside from the statements you made to
staff during your actual treatment, with regard to
the conduct or the manner in which ECMC conducted

your treatment that day?

A. Yes. The answer is yes, I think.
Q. Where did you give those statements?
A. I called ECMC several -- I think on

several occasions very early on, like the first

week of January, second week of January, because

 

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the very first nurse in the room, the one I had the
most issue with, I thought that they ought to be
aware of that.

Q. Who did you contact at ECMC?

A. I think my first contact was with
somebody in social work to find out who to contact,
and then I tried to contact somebody. I may have
sent an email to her.

I can't remember her name off the top of my
head. She was like the head nurse of the emergency
department or something like that.

I also talked to the chaplain's office at
some point. And I made several calls I think to
social work to try to get somebody to realize what
had happened and that that would be better if it
didn't happen again.

Q. The head nurse that you referred to, is
that the person you made a complaint with or is
that the person you were making the complaint
about?

A. I never -- I never made a complaint --
I can't -- I don't ever remember making a complaint

in writing, but it was the one that I was speaking

 

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to, not the one that I was making it about.

And the complaint really wasn't that
serious. It really was more about -- well, I can
tell you what it was about, if you want to know.

Q. Well, I'm asking if you made a complaint
about the manner in which ECMC staff treated you
that morning.

A. Yeah. One person. The person I didn't
want to treat me,

Q. It was that first initial nurse you
mentioned?

A. Yeah, it was the first nurse that
walked in the door. And she asked me: What's
wrong with you? Why did you jump on top of
a police car? And I said, I didn't jump on top
of a police car. Who told you that?

Q. When did you send the email to ECMC
with regard to your concerns?

A. I don't remember. I don't remember.

Q. Was it within the calendar year of this
incident occurring?

A. I would think so, yeah.

Q. Was it that winter?

 

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A. I'm pretty sure.

Q. Do you know if it was in the month of
January 2017?

A. Could have been. The closer to the
incident, the more accurate we would be of finding
when it -- when it happened.

And I had no knowledge of Internal Affairs
or I had no knowledge of the federal lawsuit or
I had no knowledge of that at that point.

At that point I didn't think I could
control -- still don't think I can control any of
that behavior on the part of the police.

All I was thinking about was what happened
to me at ECMC when she walked in there accusing me
like of what the police accused me of.

And I was like: That's not how you treat
people like when they come in the emergency room.
You just don't walk in the door and say, why did
you jump on a police car? I didn't do that.

Q. At some point did you make a complaint
with regard to the handcuffs to ECMC staff?

A, Yeah. As soon as the doctor walked in,

because I asked him: Can you get these handcuffs

 

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oft?

Both the nurses -- both the one that I told
just leave me alone and then the second lady that
came in, I said, can you get these off my arms? My
arms are swelling up around the handcuffs. My
hands are swelling up around the handcuffs. She
said, well, the doctor. The doctor. And I said,
okay, well, let's see the doctor.

Q. Did the handcuffs cause any lacerations
to your wrists?

A. Yeah. Both the left hand and the
right.

Q. Where were those lacerations on your
wrists? The front? The back?

A. The top and the top.

Q. So the record should reflect that
you've just pointed to on the top of both of your
wrists, towards the inner top portion of your
wrists and pointed.

A. Yeah.

Q. Accurate description?

Was any bone exposed?

A. No.

 

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Q. Was there any bruising to your wrists
that day?

A. Oh, yeah. They were swelled up like
peaches.

Q. How long did the bruising last to your
wrists?

A. I don't think my hands looked right for
probably three months.

Q. Did you receive any medical treatment

from the doctors at ECMC or the staff at ECMC that
day with regard to your wrists?

A. No.

Q. Did you complain about the swelling --

A. Oh, yes.

Q. -- and the bruising to your wrists?

A. Yeah. When the doctor came in,
I talked to the doctor -- I don't know -- probably
five minutes. And he said, can you guys take these
cuffs off of him? Because I showed him my hands.
I showed him they were swelling up. And he said,
take these handcuffs off of him.

So he took the handcuffs off, and then when

I raised my hands and I was looking, I could see

 

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the handcuffs had dug through the skin.

And the first thing I said was: Record
this. I said, get somebody in here with a camera
and take pictures of this. Look what they did to
me.

Q. Were any photographs taken of your
hands at ECMC?

A. No. All ECMC did was stand there with

their mouth agape, looking at the police like:
What do we do? Are we allowed to take pictures of
his wrists? Should we take pictures of his wrists?

These were the attitudes that you could see
nobody knew what to do.

Q. Well, did anybody say that, or is that
your assumption based on your observations?

A. That's my assumption from my
observation at that point, knowing that there was
already a lawyer waiting in the waiting room,
because I had already been informed of that.

Let the lawyer come down and take the pictures.

Q. Who informed you that a lawyer was

present?

A. The second nurse.

 

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Q. What did she say?

A. She says, there's somebody down here
for you in the waiting room trying to get in.

Q. Did she identify that person as
a lawyer?

A. No. She identified him as a tall guy.
She said, there's a tall guy down here in the
waiting room waiting for you.

Q. Did you have any interaction with that

person while you were at ECMC?

A. No. No. I never saw Jim.

Q. Did you receive any other medical
treatment while you were at ECMC that morning that
you have not mentioned?

A. If I did, I don't remember it.

Q. The pain to the back of your head,
swelling and bruising and pain to your wrists were
discussed. Any other injuries that you noticed at
that point in time?

A. Just the abrasion in the front of my
head, but honest to God, I didn't even know I had
an abrasion in the front of my head until like

I got home and Rachel said, what's wrong with the

 

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front of your head?

Q. At some point you were transported from
ECMC to central booking downtown?

A. Yeah. Yes.

Q. When you -- do you have a recollection
of arriving to central booking downtown?

A. Yeah, I do.

Q. When you arrived at central booking,
did you walk from the police vehicle into the
facility of your own power?

A. Yeah. That's -- yeah. Yeah.

Q. How much time elapsed from your arrest
at central booking, to when your -- strike that.

Did you lose consciousness at all while you
were at ECMC in the morning?

A. I don't know.

Q. Did you lose consciousness at any point

during your transport from ECMC, to central booking?

A. Yeah. I might have fallen asleep,
actually.
Q. Once you've arrived at central booking,

how much time passed from your arrival, to any

search of your person?

 

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A. 20 minutes. That's a guess.

Q. In that period of time from your
arrival, until your person was searched, what were
you doing at central booking?

A. Okay. This is a narrative. It's the
best way I can tell this.

I don't know what direction we came in, but
there was a steel bench, and I remember coming in
and one of the woman policemen said, sit on this
steel bench.

In front of the steel bench, there was like
a bank teller's window, and that room was all glass
on the top, like a central control room or something.

There was a small hallway off to the left of
it in the front, from my perspective sitting on the
bench, and there was a cell on the left-hand side.
There might have been two cells.

Down at the end of that hallway, on the
left-hand side, at the end of it, there were two
doors. One went up into the control room and
the other went into a room I couldn't see, which
I eventually learned was where the camera was.

So I sat down on that bench when I walked

 

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in.

Q. So for the period of time that --
strike that.

Before your person was searched, were you
seated on that steel bench for this entire period
of time?

A. It took five minutes to get in, and in

15 minutes I was sitting there on the bench.

Q. Sure. So once you've entered through
the doors and you're inside the facility, did you
remain seated on that steel bench until you were
taken to --

A. Yeah, until they took me in the back.

Q. -- the search?

When you were taken into the back, you were
taken down that hallway you've described and in

a room towards the left, as --

A. Yeah.

Q. -- from your vantage point at the steel
bench?

A. You're walking straight down the

hallway, and you make a left to go into this room.

Q. Who and how were you brought to that

 

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room down the hallway and towards the left?

A. I was sitting there in front of like
the bank teller's window, and I don't know where
the policewoman went, but I remember the one went
over to the door to go into the control room, and
you could hear the buzz, so they let her in to go
into the control room.

I think the other one went into the hall off
to the left while I was sitting there on the bench.
There was a conversation inside the control room

for a minute, and then --

Q. Were you able to hear that conversation?
A. Yeah.
Q. At this point you are seated on the

bench and you have been not taken to the other
room, correct?

A. Yeah. I haven't gone in back there
yet.

Q. Who took you to the room down the hall
and towards the left?

A. One of the two policewomen. And to
this -- to this day, I haven't seen like a picture

of these two different women, so I can't give you

 

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a face with a name.

Q. Are you able to provide any physical
description of which female officer walked with you
to that back room down the hail?

A. I think once I described her she looked
like you.

Q. What do you mean by that?

A. She had -- she had straight hair, but
I think it was up in a bun. She didn't have a full,
round face. I think it was the shorter of the two.
I think it was the taller one. I -- IT think it was
the driver of the car, but I can't put faces with
names.

Q. Were you walked to that room on your
own power?

A. It was: Come this way.

Q. Were you able to get up off the bench
and walk to that room yourself?

A. Yeah.

Q. Did you require any aid getting off of
the bench or walking to that room?

A. No.

Q. Were you handcuffed the entire period

 

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of time that you entered the police vehicle,
entered the facility, and were seated on that
steel bench?

A. At some point the handcuffs came off,
but I don't remember when.

Q. Do you know where you were at the time
the handcuffs came off?

A. I know they were off when I went in for
the search and when I was fingerprinted and my
picture was took. I'm almost positive they were
off then.

Q. So at some point the handcuffs were
taken off before you were walked to the -- down the
hallway --

A. Yeah.

Q. -- and into that room?

A. Yeah.

Q. Do you recall who took the handcuffs
off you?

A. One of the two women officers. That's
all I can tell you. I can't remember if it was the
short one or the taller girl.

Q. And I should ask this foundational

 

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question: At some point the handcuffs were placed
back on you at ECMC before you were transported
downtown?

A. Yeah. You know, I think they might
have had -- I can't remember if they had things on

my legs or not. Something tells me I had things on
my legs at some point, but I can't remember.

I'm almost positive at some point in the day
I had a belt with the handcuffs through the belt
and to the feet.

Q. It's your testimony that at some point
you had some mechanism on your legs that restricted
your movement?

A. Yeah. I think at some point they put
leg shackles on my legs. Just something tells me
they had a belt on me.

Q. Do you have a recollection of that
being placed on you?

A. No. No. It's just something because
I remember trying to walk and walking -- my gait
was weird, and I don't know whether that was
because I hit my head or what.

Q. Where do you recall trying to walk and

 

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finding that your gait was --

A. When I got out of the police car at
central booking, it was hard to -- it was hard --
it was hard to move. It was -- I was still
hurting.

Q. And it is based on your gait being
abnormal while walking from the vehicle at central
booking into the facility that you base your
assumption that you had some type of restraints on
your legs?

A. Yeah. Yeah.

Q. Did you ever observe restraints being
placed on your legs?

A. No. I don't have a memory of that.

Q. Aside from the female officer, did
anyone else walk you down the hallway into the room
to the left at central booking?

A. No. And I think she more summoned me.

Q. When you entered that room located down
the hallway and to the left, who, if anyone, was
present aside from the female officer?

A. There were two guys in there.

Q. Please describe for me what the two

 

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males present looked like.

A. I can't. I met them two guys for two
minutes, maybe three.

Q. Was your only encounter with those two
males within that room?

A. Yeah.

Q. What happened once you entered that
room?

A. They said, look this way. So they
wanted my attention toward them. There was a --
like a place --

Q. When you say they, you mean the two
males?

A. Yeah.

Q. Continue.

A. There was a place -- a camera was going

to take your picture, and they wanted you to look
at that and keep looking at that. If you looked
down or to your side, they would: No. Just keep

looking at the camera.

Q. Your photograph was taken first?
A. I don't remember.
Q. At some point your fingerprints were

 

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taken within that room?

A. I think a thumbprint on an electric
machine. Maybe they went each print on the
electric machine. I can't remember.

Q. Do you have a clear recollection of
that?

A. No, but I'm almost positive they didn't
use no ink. I think there was an electric machine

there to do it.

Q. Do you recall the order with which your
photograph and your fingerprints were taken?

A. No.

Q. At some point was a search of your
person performed within that room?

A. Yeah.

Q. Do you recall if that search occurred
prior to your photograph or fingerprints taken?

A. I don't know the order. It was either
the first thing or the last thing. It wasn't
during, in the middle. That's a weird memory.

Q. What's weird about it?

A. That I can't remember whether it was

first or second -- or first or last.

 

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Q. Please describe how the search of your
person occurred.

A. When we walked into the room, the
policewoman was behind us. Again, I don't know
whether it was the short one or the tall one.

I think it was the taller of the two women. She
was behind us.

And the one policeman on my right -- or if
they were police, I don't know. They weren't in
uniform, by the way, these two guys.

Q. You're referring to the two males when
you say that?

A. Yes. Yes, ma'am.

The one policeman, the one male on my right
said to the policewoman behind me: Where is he
going? And she didn't answer him. Then the one
policeman or the male on my left said, where is he
going to end up? Where is he going? And she
didn't answer him again. She didn't answer him.

Then the first officer asked again, or the
first male, on my right, again, kind of went --
looked at the -- the male looked at -- they looked

at each other, and he said, where is he -- where is

 

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he going to? Where are you sending him? And she
didn't answer him again.

And at that point, I don't know if she -- I
don't know what she was doing behind me.

Q. So my question to you is: Describe the

manner in which the search of your person occurred.

A. Oh. At that point the first officer
relented, and they proceeded to say -- either
before or after -- I can't remember which -- he

said, okay. Stand here and look at the wall.
Okay. Take off your pants -- drop your pants to
around your ankles, bend over, spread your cheeks.
I don't remember if he said cough.

And I think he had -- I think they -- that
happened -- that was about -- that whole thing took
about 15, 20 seconds.

Q. Were you ever completely nude during
the course of this search of your person?

A. I don't remember. I can't tell you if
I had to take my socks off or not. I think they
had me pull off my shirt, but I'm not sure.

I don't -- it's --

Q. Were you ever physically touched in any

 

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manner during this search?

A. I don't think so.

Q. How many people were present for the
search?

A. The two men in front of me and the

woman policeman behind me.

Q. Was there any curtain or screen that
separated the female officer from you at the time
that you -- that your person was searched?

A. There could have been. And I need to
explain that.

After this was done and he said, put your
clothes back on, and I was getting my clothes back
on, the first time I noticed her, she was
standing -- like the first time I paid any
attention to who else was in the room, she was
standing in the doorway.

Not in the hall, not in the room, but she
was standing like right in the -- right in the
doorway, and she was looking at me.

If the -- this is -- if the two men that
were doing the search -- when I turned to look at

the wall, which was on my right, and I did that,

 

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and he told me to get dressed, during this process,
you weren't allowed to turn around, so I wasn't
allowed to turn around to see if she was standing
there behind me during the whole time.

But as I'm putting on my clothes, you
naturally have to move, so I'm putting on my
clothes, and when I looked to the left, the first
time I glanced to the left -- my left, I seen her
in the doorway.

If she went outside, I don't know. If she
stood there the whole time, I don't know.

Q. Your observations and your vantage

point was focused on the wall?

A, And the two male officers. That
whole -- that side of the room.
Q. During the portion of your -- of the

search of your person?

A. Yeah. She could have walked out of the
room during the strip search and then came back in
after they said, okay, we're done, because the
vocal of okay, we're done, would have been easily
heard. She was six feet away, if she was outside

the room at all.

 

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Q. Did you incur any expenses as a result
of your arrest on January lst, 2017?

A. Well, I had to pay Jim.

Q. Jim Ostrowski?

A. Yeah.

Q. How much did you pay Jim?

A. $1500. And had he known it was
a felony when we went down there, it probably would
have been a whole lot more. We didn't know it was
a felony until we got there.

Q. Did you pay him 1500 in total, or was
that per appearance?

A. No. That was all he got.

Q. Did Jim send you any receipts or
invoices for his legal fee?

A. No. No. I've known him 15 years.

Q. Did you have any other expenses aside

from the fee you paid Jim?

A. Well, the hospital sent me a couple
bills.

And to digress, I think part of my
complaint -- when we talked about ECMC earlier,

I think part of my complaint was: I'm not paying

 

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any bills. I'm not giving you any money. Collect
this from the police department because -- quit
sending these bills to me because --

Q. Do you still have those bills you
received from ECMC?

A. If I -- I gave them to the lawyers.

Q. When you say lawyers, you mean --

A. Yeah. Rupp's got them. Or --

Q. Rupp, Baase.

A. -- Jim's got them or Rupp's got them.
Somebody.

Q. Did you ever actually pay any medical
bills that you received from ECMC?

A. And I never will for that day.

Q. Did you incur any medical expenses for
any other medical treatment as a result of the
incident on January lst, 2017?

A. Not that I've paid. I don't have any
money to pay medical bills.

Q. Well, have you gotten bills or invoices

related to any other medical treatment in
connection with this incident?

A. I want to truthfully answer, I don't

 

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know. I don't know.

Q. Have you ever filled out what's called
an application for no-fault benefits?

A. I can't remember if I've ever done that
or not.

Q. Is there any reason why you would have
not filled out an application for no-fault benefits?

A. I don't know what that is.

Q. Okay. That's fair.

Have you ever been involved in a motor
vehicle accident prior to January 1st, 2017?

A. As the driver?
Q. Have you been involved in a motor
vehicle accident at all prior to January ist, 2017?
A. Not as -- not as a driver. I was
a passenger in a car when I was 18 that went off
Old Colerain Road. Gus Winters was driving the
car. Went over the embankment in an Opel. I was
the only one come out of that without a scratch.

I was in a car that went off the road in
Indiana. I don't remember who the guy was that was
driving that vehicle. But I came out of that one

without a scratch.

 

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Kistner - Huggins - 2/6/20
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And Rachel and me and the three kids were
stopped at an intersection, probably around 2015,
and an automobile went out of control and stopped
right in front of her car, put a hole in her
bumper -- she was driving a Windstar then -- about
as big as a quarter. There were no injuries to
anybody.

So the answer is: I can remember three
times I've been in a car wreck in my life, and
I never got hurt.

Q. Have you ever been involved in any
other type of accident that may have caused

physical injury to you?

A. No.
Q. Did you play any sports growing up?
A. No.
Q. Have you ever suffered a concussion?
A. I was on a Huffy Rail bicycle when

I was about 11. The front tire went into a storm

drain, and the bike flipped, and I was out until
I woke up in the hospital. I think I might have
been concussed when I was 11.

Playing poker when I was about 17 years old,

 

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Kistner ~ Huggins - 2/6/20
131

I got hit in the head with a two-by-four by a kid
by the name of Billy Leibish. Lost consciousness
for about a half hour.

Q. When was that?

A. I was about 17 years old, 18 years old.
Went to the hospital. They sent me home. My mom
came and got me, I think. They sent me home.

Other than that, not in the last 40 years.

Q. Have you ever suffered any injuries
when you were doing any of your construction or
laborer work?

A. No.

Q. Are you aware of any testimony that you
have given aside from your 50-h in June of 2017?

A. No.

Q. Aside from that 50-h in June of 2017,
have you given any other statements about this
incident to any other City of Buffalo employee?

A. I don't think so.

Q. How long did the pain to the back of
your head last?

A. Oh, I digress to the last question.

Could you repeat the last question?

 

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Kistner - Huggins - 2/6/20
132

Q. The one about statements to City of
Buffalo employees?

A. Yeah, city employees. I caused to be
mailed to Internal Affairs a complaint.

Q. What do you mean by you caused to be
mailed a complaint to Internal Affairs?

A. I took a copy of the complaint in
federal court, I put a cover letter on that copy,
and I sent it to Internal Affairs.

And I said I didn't think there was much
more that needed to be said, other than what was
contained within the complaint that they could --
all they had to do was look at the complaint and
they could figure out what my Internal Affairs
complaint about the police officer's conduct would
be.

And all I wanted to know was when they
started their investigation. I'd like you to tell
me when you start your investigation. And I mailed

it, so I caused the post office to deliver it.

Q. Understood. When did you mail that?
A. I can't remember that.
Q. Do you recall what year?

 

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A. It was last year.
Q. So at some point in 2019?
A. Or '18. '18 or '19. Long years.
Q. Do you have any record showing that you
mailed it?
A. I'm pretty sure somewhere in my house

or in the office or somewhere there's a receipt
with a ZIP code deliverable. I know I mailed it
from the post office downtown here behind City
Hall, so there would be a tracking number on there.

Whether you could still find it on the --
but I think they've since acknowledged they have
it, but they didn't acknowledge they had ever
started an investigation.

Q. Why do you think that they acknowledged
they had it?

A. Fairly recently I was told that
Internal Affairs had communicated with my attorney.

| Q. Who told you that?

Well, let me preface this by saying I'm not
inguiring about conversation you had with your
attorney.

A. I gotcha.

 

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134

Q. So if that is that --

A. I understand.
Q. -- I'm not trying to ask that.
A. I understand.

Q. But did anybody from the police
department or Internal Affairs contact you with
regard to your letter?

A. Never.

Q. And, again, I'm not trying to breach
that, but I just want to get a handle on this.

Is it at some point you were informed someone from

Internal Affairs has contacted your attorneys?

A. Yeah.

Q. Do you know when you were informed of
that?

A. I'm going to say within the last six

weeks. After the WIVB broadcast. And I don't know
what day that was on either.

Q. Did you have a primary care physician
on January Ist, 2017?

A. No. The first -- no, I'm not sure
I did. But when I went on like the 10th to see

a doctor, that was -- they called her my primary,

 

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Kistner - Huggins - 2/6/20

135
1} and I had never seen the woman before. She's
2} a young girl. And I never saw her after that
3} either. That was at 1500 Broadway.
4 Q. Did you have a doctor, prior to this
5} incident, that you had most recently seen?
6 A. I can't remember. I think I was going

7} to 1500 Broadway before I went back to 1500 Broadway

9| primary had left, and I had to get a new primary.

10} I think I had been attending that clinic.

8| on like the 10th of January of '17, but I think my

11 Q. Prior, so at some point in the year of

12/ 2016, you had attended --

13 A. Yeah.

14 Q. -- or received treatment at that --
15 A. I think so, yeah.

16 Q. The same clinic located at

17} 1500 Broadway?

18 A. Yeah. It was at Broadway and Bailey

19| for a while. It was St. Vincent's. And then they

20} opened at 1500.

21 Q. How long did the pain to your head
22) last?
23 A. From when the police car crashed into

 

 

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me on January ist, 2017, is that what you're asking
me?

Q. How long did you experience pain to the
back of your head as a result of this incident?

A. It took about three days for me to
just -- to not feel like bad. It took about three
days for my head to stop, you know.

Q. Do you have any scars or marks to any
parts of your body as a result of the incident on
March -- not March -- January lst, 2017?

A. I have little like dots on my wrists
where the scabs were, like scarring, but that's --
you know, every scar's got a tale, so ona guy,

a scar doesn't mean a whole lot.

Q. So is it fair to say you may have had
scars on your wrists prior to January 1st, 2017?

A. Not where these scars are.

Q. Can you point out the scars that you're
referring to?

So the record should reflect you held out
your right hand?

A. Yeah.

Q. Your right wrist.

 

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A. You see that? Like you're going to
think it's a line, but that's right where that --

that's right where that handcuff was.

And there's little -- you see the white
right there? You can -- you can just see it.
That's a scar. That's a scar from where that

handcuff bit into me.
Q. So the record should reflect that

you've just pointed to the top of your right wrist?

A. Yeah. There's a scar about a half inch
long, and it's a little white -- a little whiter,
in deep, than it is on either side. It's a very

small scar.

Q. Before I stopped you, you were
beginning to hold out your left hand.

A. Yes. And the same thing over here.
But that one's right there. That one's right here.

Q. So the record should reflect that
you've pointed to the top portion of your wrist,
towards -- almost towards the inside of your arm;
is that fair?

MR. DAVENPORT: Yes.

THE WITNESS: And they're tiny.

 

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BY MS. HUGGINS:

Q. Have you put anything -- an ointment or
anything on your wrists to try to reduce any
scarring?

A. No.

Q. How long did the bruising to your
wrists last?

A. It took a good three months before
my -- my wrists started to have the resemblance
that they have now. It took about three months.

Q. You had bruising for a period of three

months?

A. I had swelling. I had swelling on both
sides of this -- this crack where the scar was
where I showed you, I had swelling on both sides of
that for months.

Q. How long did you experience bruising to
your wrists?

A. Discoloration? When you say bruising,
I think of like black and blue or red. When you
say swelling -- you can have swelling without the
color changing.

Q. So you've just described that you had

 

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swelling for approximately three months.

A. Yeah.

Q. How long did you experience bruising to
your wrists?

A. Ten days at most before the color came
back.

Q. What was the first medical treatment,
if any, did you receive after the January 1st, 2017
incident?

A. When I went to 1500. It took me that
many days to get in.

Q. Approximately ten days later?

A. Yeah. It might have been a week. But
it took that long to get in. We called them right
away, but they said, you can't see the doctor, and
you've got to have a new primary because your old
primary left, and it will be -- okay. Give me the

first available.

Q. What was the name of that doctor you
saw?

A. I think her name is in the 50-h.

Q. Is that that younger female doctor --

A. Yeah.

 

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Kistner - Huggins ~ 2/6/20

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1 Q. -- you've referred to earlier?
2 A. Yeah. Yeah.
3 Q. And you mentioned you never returned
4| or saw --
5 A. I never saw her after that, yeah.
6} I only saw her one time, I think.
7 Q. What medical treatment was provided for

8} you when you saw the doctor at 1500 Broadway?

9 A. She said, if it hurts, put ice on it.

10| She said, you can take over-the-counter painkillers

11; for it.
12 And she said -- I said, can you give me

13| a referral to a neurologist? Because I could see

14} that was where this was going, because I could feel

15} that they don't feel the same.

16 And I don't remember if she gave me

17|/ a neurologist's referral or not, but I know

18} I attempted to make an appointment with Dent

19} Neurology down on Harlem Road.

20 Q. Do you know if any diagnostic testing,

21} an MRI, an x-ray, a CAT scan, any of that was

22|} performed when you sought treatment at 1500 Broadway?

23 A. Not that I remember.

 

 

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Q. Do you know if you received any diagnosis
of any kind when you attended 1500 Broadway?

A. Not that I remember.

Q. When did you attempt to make an
appointment at Dent?

A. I think I had one for February, the
next month.

Q. In the year 2017?

A. Yeah.

Q. Did you receive any medical treatment
from Dent?

A. No.

Q. Why not?

A. They wanted $200 cash to see me, to let
me walk in the door. And I asked them: Well, are

you going to be able to do anything for me if I give
you $200? And they said, well, we'll set you up
with a neurologist and you'll have to come back
again.

That's going to be the initial patient
intake. No, you're probably not going to get any
care that day. And they asked what was wrong, and

I told them.

 

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Q. Was that conversation over the phone or
in person?

A. Over the phone. And they asked what
was wrong, and I told them, and they said, well,
this is probably going to be an insurance claim, so
you're definitely going to have to pay cash if you
don't have any insurance of your own.

Q. What did you identify to Dent as your
complaints?

A. I told them I had a handcuff injury.

Q. Did you seek any other medical
treatment with regard to the January 1, 2017
incident, aside from what we've just discussed at
1500 Broadway and your attempted appointment at
Dent?

A. Catholic Health has a Family Medical
Practice. I can't remember the name of the street
that it's on, but it's a few blocks down from OLV.
See, I don't drive, so I don't know the name of
streets. But that became my primary physician.

Over the course of care with my primary
physician for whatever ails a 57-year-old man,

I think I may have mentioned my arms, but I don't

 

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1} think that was his primary concern of my care.
2 Q. Did you describe the injuries you claim
3| from the January 1st, 2017 incident to any medical
4] providers, aside from the doctor at 1500 Broadway

5} and the intake person at Dent?

6 A. No.
7 Q. Why not?
8 A. I just put it down to lack of

9| opportunity.

10 Q. What do you mean by that?
11 A. You have to have money to see
12} a neurologist. You have to have money to go into

13]} Dent or you've got to have an Obama card or you've

14] got to have some kind of insurance card, and I didn't

15| have any insurance in January of 2017 or February
16) of '17 or March of '17.

17 Q. Were you ever given a diagnosis by

18| any doctor at any point or a referral by a doctor
19} at any point saying that you needed to see

20] a neurologist to address your concerns relating
21] to the January ist, 2017 incident?

22 A. I suspect that that young girl doctor

23} that I saw at 1500 the second week of January or

 

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the first -- the 10th of January, I think she gave
me a referral and that's why I reached out to Dent.

Because to get into a normal neurologist
without any money or insurance was going to be
a problem, but the longer I waited to see
a neurologist, the more concerned I was because
it was hard to move my thumb.

Q. Have you received any medical treatment
at all from any neurologist?

A. No.

Q. Aside from 1500 Broadway and the
Catholic medical practice that you've referenced,
have you received medical treatment from anyone
else in relation to the January lst, 2017 incident?

A. No.

Q. And it's your testimony that what has
prevented you is cost, not denial of any medical

treatment itself?

A. That, coupled with one other thing.
Q. What has prevented aside from cost?
A. That, coupled -- resources are the

primary reason, but it's also coupled with the fact

that when you call and you say, I want to set up --

 

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I want to see somebody about my wrists, they ask
you: Well, okay. Is this a work-related injury?
No. Well, was it an injury? Yes. What happened
to your wrists? Well, I got hit by a police car,
I got arrested, and they put the handcuffs on so
tight that they injured me.

As soon as you say that, the conversation
changes.

Q. What do you mean by that?

A. Not everybody wants to involve
themselves with the state, the police department.
Not everybody, not every practitioner wants to jump
in.

Q. Has any medical provider explicitly
refused to evaluate or provide any treatment as
a result of your description of how you suffered
the injury?

A. The young doctor at 1500, ten days
after I had the injury, when I spoke to her while
she was interviewing me and caring for me and
treating me, she said, let me pull up the records
from ECMC.

So she pulled up the records from ECMC, and

 

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she said to me: What you're telling me doesn't --
doesn't match what's in the file here. And I said,
what do you mean? And she said, well, it says here
you jumped on a police car and that you were arrested
for it and you were taken to the CPEP unit.

And what you're telling me that you had this
injury to your wrists because of the handcuffs, it
doesn't -- it doesn't -- it doesn't jive with this.

Q. Do you believe that ECMC medical
records are inaccurate with regard to the
January Ist, 2017 incident?

A. I'm not an expert in medical records.

I don't know. But I know there is one error that
is claimed in the record at ECMC.

Q. What error is that?

A. There's a description of some type of
suicidal inclination about going to a hotel and
starving oneself to death or drinking oneself to
death. That's at the bottom of a page on the
record. And when you go to the next page, on the
top, it says, the prior entry was written in error.
It was entered in error.

So I know there's one error there.

 

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Q. Have you attended any physical therapy
as a result of the January 1st, 2017 incident?

A. No.

Q. Have you sought the services or seen
a chiropractor as a result of the January 1st, 2017
incident?

A. No.

Q. Have you taken any pain medication at
any point as a result of the January 1st, 2017
incident?

A. No. I don't take pills of any kind.

Q. At any point are you aware of any
diagnostic testing done on you, aside from the
tests at ECMC that morning and anything you may
have received at 1500 Broadway?

A. Not that I remember.

Q. Have we discussed all medical providers
that you have seen after this January lst, 2017
incident?

A. I hope so.

Q. Me too. That's why I'm asking you.

Is there any other doctor or therapist or

chiropractor, whatever you want to categorize them,

 

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whom you've sought to try to alleviate or address
any injuries you have suffered as a result of the
January lst, 2017 incident?

A. No.

Q. When was the last time you saw
a medical provider with regard to the January 1st,
2017 incident?

A. I think I pretty well give up trying to
get a doctor to fix what ails me on my wrists.

At the OLV clinic, when my primary at the
OLV clinic out by OLV, when he said to me that:
Jimmy, I think there's other things. You're going
to have kidney stones. He said, there's other
things we've got to worry about with you other than
your wrists. And I think, you know, there's more
important things that we should pay attention to.
Learn to live with something. I said, okay.

I think that's kind of when I said, all right.

Q. When did you stop receiving medical
treatment for either the pain to your head or the
issues you've described with your wrists?

A. When did I --

Q. Stop.

 

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A. Yeah, As soon as I got my new primary
at the OLV clinic, Our Lady of Victory, and the
doctor told me -- he said, well, we can't cure
everything. It's going to take me months to get
you in to see a neurologist, and I think you should

see a urologist before a neurologist, because I'm

57, and --
Q. Due to the kidney stones?
A. Yeah. I have stage 3 kidney disease.
Q. Do you recall when that occurred that

you were told this?

A, I'm going to say about a year after.
So it would have been January, February of 2018.
It was kind of like: Well, let's worry about
what's happening today.

Q. Since that conversation in 2018, have
you scheduled or sought any treatment for any
issues related to the January lst, 2017 incident?

A. No.

Q. Do you have any plans to do so in the
future?

A. Well, if I had a pile of money, I'd

probably call a neurologist and say, give me your

 

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1} first available, and have him at least look at my
2| wrists so he could hear my complaints to find out

3| if there's anything he can do.

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4 Q. Have you taken any steps or --

5 A. No.

6 Q. -- contacted anyone?

7 A. No. That pile of money ain't fell out

8) of the sky.

9 Q. Did the January lst, 2017 incident

10|/ cause you to miss any actual time working as

11} a landlord?

12 A. It added time. It made things longer.
13 Q. Were you confined to your home or to
14} a bed for any period of time, as a result of the

15| January 1st, 2017 incident?

16 A. Them first two or three days, I didn't

17| leave the house. And I can tell you, this kind of

18] kills like six birds with one stone. You asked
19| earlier about when we first -- when we first knew

20|/ that Mike Wolfe had left. After I got home that

21| night, the next day, which would have been January

22} 2nd, I went outside, and I walked around, and

23| Mike's door was ajar.

 

 

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But I didn't want to -- I was still trying
to -- my head's still ringing from the day before.
I'm like: I'm not even going to talk to Mike.

I don't want to deal with that too. Because he
always had an issue at some point.

So the next day, which would have been the
3rd, I did the same thing. I did the walk-around.
Didn't do anything. Didn't do any work those two
days. But it was the 3rd that I said, the door's
been open all night long. The apartment door.

Q. To Mike's unit?

A, Yeah, I said, the door's been open
that same six inches for two days. I can't leave
buildings open. So that's when I went up on the
porch, on the 3rd, and knocked on the door and
said, Mike? Mike? Mike?

The apartment's empty. I go in. I got
possession of the real estate. So then I changed
the lock on the door, because there was nothing of
his that belonged in there -- or nothing of his
there. He had gone completely.

And I had to change the lock on the door

because there was a key in the lock that was busted

 

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off. I still got that lock with that broke-off key
in there. And the door had been busted down.

Q. Have you filled out any applications
for any type of benefits with regard to your
injuries that you suffered on January Ist, 2017?

A. No.

Q. Have you filed for any disability
benefits?

A. No.

Q. At the time of this incident on

January 1st, 2017, did you have any health

insurance?
A. No.
Q. Since this incident have you obtained

any health insurance?

A. I think I got Obamacare right now.
Whatever that is.

Q. Were there any hobbies or activities,
aside from what you described, and your landlord
duties, that you were prevented from doing as
a result of the January ist, 2017 incident?

A. I put on this dress shirt this morning

and I couldn't snap that button on my left wrist.

 

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I couldn't -- I couldn't -- I spent 20 minutes
trying to get that button snapped, and every time
I did it, this side over here hurt.

I'm not trying to be loud. I promise.

But that is just the kind of the stuff that
happens.

Q. Difficulty in terms of using -- closing
a button or --

A. You'll be doing -- you'll be doing the
most minute thing. The thing that you don't think
it's going to -- you know, I can do this. I've
been doing this all my life. And you're like: Ow,
ow, ow for 20 minutes and finally go: Rachel, will
you button my shirt for me? It's ludicrous.

You're painting an apartment because you
have to paint the apartment before you can rent it
to the next guy, and you're drawing a line, and
you've gone eight inches, and your sash tool falls
out of your hand. It just falls out of your hand.

You're like: Holy shit. Now you've got to
get down off the ladder. You've got to wipe the
brush off. It takes another 20 minutes.

Q. Have you hired anyone to help you do

 

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any household activities as a result of this
incident?

A. Household activities, no. The
biggest -- maybe I answered that too fast. The
biggest expense I've had was the roof, because
I couldn't trust myself on it. I couldn't use the
trowel on Rachel's porch. That was $1100.

I couldn't even put the backing up because
I couldn't drive the nails hard enough. I couldn't
even put the backing up for the stucco guy. When
he got there, he had to take the backing off and
redo it because I couldn't get the nails in far
enough.

Q. In terms of those landlord duties that
you've described, the roofing and the stucco, you
hired contractors to assist?

A. I paid somebody.

Q. Do you have any restrictions from any
of your doctors with regard to any activities you
are allowed to perform?

A. No. Not that I'm aware of.

Q. Have you ever suffered any prior

injuries to either of your wrists or hands?

 

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A. No.

Q. Have you taken any vacations since
January lst, 2017?

A. No.

MS. HUGGINS: Off the record.

(A recess was then taken.)

BY MS. HUGGINS:

Q. Have you sought treatment from any
mental health professional or counselor as a result
of the January lst, 2017 incident?

A. Not yet.

Q. Do you have plans to do so?

A. No formal plans. I haven't decided
what to do there.

Q. What, if any, symptoms or issues have
you experienced, in terms of your mental health,
that have caused you to consider doing that in the
future?

A. I still can't believe that people are
lying. It just -- I can't fathom lying this
consistently for this long in their official
capacities.

Q. Have you ever received mental health

 

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treatment or counseling prior to January lst, 2017?

A. In what time frame?

Q. Your life.

A. Not that I remember.

Q. Is it possible that you may have
received such treatment that --

A. Yeah, but I might have forgot.

Q. -- you don't remember?

A. But I might have forgot.

Q. Aside from the complaints that you sent
directly to ECMC and your cover letter to the
police department Internal Affairs Division, have
you written any other complaints or information
with regard to this incident to any other
individuals?

A. There might have been a mention of it
on social media after the WIVB report, but I really
have stayed away from mentioning this.on social
media at all.

Q. The possible mention of it on social
media, would that be a post that you yourself
caused?

A. Or somebody IM'd me and said, I saw

 

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this on WIVB. What's going on here?

Q. So perhaps like a direct conversation
that you had with somebody?

A. Or somebody posed a question, and
I said, well, it's public now, and posted the WIVB
story.

Q. Did you post that to your own account?

A. I probably would have, after getting
like three or four people saying, wow. What

happened here?

Q. What social media accounts do you have?
A. Only on Facebook.

Q. What is your user name on Facebook?

A. There's two. There's Jimmy Kistner and

there's James Kistner.

Q. Do you spell Jimmy with a Y?

A. Yeah,

There is Jimmy 4 Fillmore -- Jimmy 4 Fillmore
on Facebook. Jimmy 4 Fillmore on Facebook, and
then there is a jimmykistner4fillmore.com. There

is a dot com that's not on Facebook.
And that's it. I don't tweet. I don't do

anything like that.

 

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Q. At the time of this incident, you were
not attending any school or occupational training,
correct?

A. No, I was not.

Q. Aside from the expenses that you have
described previously, did you lose any income as
a result of this incident?

A. No.

Q. Aside from the time you were at
McDonald's on Niagara Street, have you had any
other interaction with any members of the Buffalo
Police Department since this incident?

A. About six weeks after the lst of
January, before the 50-h hearing, so it was after
January Ist, but before, somebody kicked down the
back door of my room in the back of 33.

I was over at Rachel's. I don't think I had
gone there for about two days, so we didn't know
exactly what day it happened, but we called the
police.

Earl was there on that day when we
discovered somebody had kicked down the back door

when we weren't there and called the police. There

 

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was one officer that responded. I don't think I'd
ever met that man before. Never seen him. And he
said he would write a report. And he was there ten
minutes and drove away.

Q. That interaction with the male officer
focused solely on --

A. Yeah.

Q. -- the back door of --

A. Yeah.

Q. -- 33 being kicked down?

A. Yeah.

Q. Okay.

A. I don't think I've -- since this we've

called them at all.

Q. Have you had ~-- strike that.

Have you filed a claim or any other legal
proceeding against any other party, outside of the
City of Buffalo or Buffalo Police Department,
related to the January 1st, 2017 incident?

A. No.

Q. Have you given any other interviews,
aside from the one to WIVB, regarding this

incident? Not anything else.

 

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A. Or anything else?
Q. Not anything else.

A. Not anything else.

Q. Just the January 1st incident.

A. No.

Q. I don't believe I have any further
questions for you. Oh, I do.

Sir, do you recall receiving any type of
testing to your head in -- in June of 2009?

A. I don't remember that far back.

MS. HUGGINS: Okay. Fair enough.

I have no further questions for you.
Thank you for your time.

MR. DAVENPORT: All set.

THE REPORTER: Will Mr. Davenport be
supplied?

MS. HUGGINS: He will.

THE REPORTER: Thank you.

(Deposition concluded at 1:46 p.m.)

 

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I hereby CERTIFY that I have read the
foregoing 160 pages, and that except as to those
changes (if any) as set forth in an attached errata
sheet, they are a true and accurate transcript of
the testimony given by me in the above entitled

action on February 6, 2020.

JAMES KISTNER

 

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STATE OF NEW YORK)
Ss:

COUNTY OF ERIE )

I DO HEREBY CERTIFY as a Notary Public in and
for the State of New York, that I did attend and
report the foregoing deposition, which was taken
down by me in a verbatim manner by means of machine
shorthand. Further, that the deposition was then
reduced to writing in my presence and under my
direction. That the deposition was taken to be
used in the foregoing entitled action. That the
said deponent, before examination, was duly sworn
to testify to the truth, the whole truth and

nothing but the truth, relative to said action.

ANNE T. BARONE, RPR,
Notary Public.

 

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